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                 Exhibit 2
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                                                                     Page 1
 1                 UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------X
 4   IN RE: ROUNDUP PRODUCTS                 MDL     No. 2741
 5   LIABILITY LITIGATION                    Case No.
 6                                           16-md-02741-VC
 7   ----------------------------x
 8   This document relates to:
 9   ALL ACTIONS
10   ----------------------------x
11

12       DEPOSITION OF ALFRED I. NEUGUT, M.D. Ph.D.
13                        New York, New York
14                           January 3, 2018
15

16

17   Reported by:
18   MARY F. BOWMAN, RPR, CRR
19   JOB NO. 135741
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                                       Page 2                                                 Page 4
 1                                                 1                 APPEARANCES:
 2                                                 2
 3                                                 3    HOLLINGSWORTH
 4               January 3, 2018                   4    Attorneys for Defendant, Monsanto
 5               10:09 a.m.                        5       1350 I Street, N.W.
 6                                                 6       Washington, DC 20005
 7                                                 7    BY: ERIC LASKER, ESQ.
 8        Deposition of ALFRED I. NEUGUT,          8       GRANT HOLLINGSWORTH, ESQ.
 9   M.D. Ph.D., Columbia Medical School, 722      9
10   West 168th St., New York, New York, before   10
11   Mary F. Bowman, a Registered Professional    11    Also Present:
12   Reporter, Certified Realtime Reporter, and   12       Robin Greenwald, Esq. (By Telephone)
13   Notary Public of the State of New Jersey.    13         Weitz & Luxenberg
14                                                14       Michael Baum, Esq. (By telephone)
15                                                15         Baum Hedlund
16                                                16       Manuel Garcia, Videographer
17                                                17
18                                                18
19                                                19
20                                                20
21                                                21
22                                                22
23                                                23
24                                                24
25                                                25


                                       Page 3                                                 Page 5
 1            APPEARANCES:                         1              INDEX:
 2                                                 2   WITNESS        EXAM BY:        PAGE:
 3   ANDRUS WAGSTAFF ATTORNEYS AT LAW              3   A. Neugut     Mr. Lasker     9
 4   Attorneys for Plaintiffs                      4             Ms. Wagstaff   129
 5      7171 West Alaska Drive                     5
 6      Lakewood, Colorado 80226                   6              EXHIBIT INDEX:
 7   BY: AIMEE WAGSTAFF, ESQ.                      7   NUMBER            DESCRIPTION          PAGE:
 8      KATHRYN FORGIE, ESQ. (By Telephone)        8   Exhibit 26-1 Document entitled "Glyphosate    15
 9      DAVID WOOL, ESQ. (By Telephone)            9          Use and Cancer Incidence in
10         -and-                                  10          the Agricultural Health Study"
11   THE MILLER FIRM                              11   Exhibit 26-2 Excerpt from "Oxford          17
12      108 Railroad Avenue                       12          Academic"
13      Orange, Virginia 22960                    13   Exhibit 26-3 Deposition Transcript of      25
14   BY: JEFFREY TRAVERS, ESQ.                    14          Alfred Neugut dated March
15                                                15          12, 2013
16                                                16   Exhibit 26-4 Supplemental Expert Report of    42
17                                                17          Alfred Neugut
18                                                18   Exhibit 26-5 Supplemental Expert Report of    46
19                                                19          Lorelei Mucci
20                                                20   Exhibit 26-6 Document entitled, "Accuracy     73
21                                                21          of Self-reported Pesticide Use
22                                                22          Duration Information from
23                                                23          Licensed Pesticide Applicators
24                                                24          in the Agricultural Health
25                                                25          Study"



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 1              EXHIBIT INDEX:                           1    that any expert wishing to testify
 2   NUMBER            DESCRIPTION           PAGE:       2    about the study published on
 3   Exhibit 26-7 document entitled            79        3    November 9, 2017, in the Journal of the
 4          "Reliability of Reporting on                 4    National Cancer Institute is to submit
 5          Lifestyle and Agricultural                   5    a supplemental report and submit to a
 6          Factors by Sample of                         6    deposition not to exceed 2.5 hours.
 7          Participants in the                          7         Today, Dr. Neugut is appearing
 8          Agricultural Health Study from               8    pursuant to PTO 34.
 9          Iowa"                                        9         On December 21, 2017, Monsanto
10   Exhibit 26-8 Document entitled, "Assessing    95   10    issued a Notice of Deposition with 12
11          the Potential for Bias from                 11    requests for production of documents.
12          Nonresponsive to a Study                    12    It is my understanding you have
13          Follow-Up Interview"                        13    received the documents that are
14   Exhibit 26-9 Document entitled "Effects of   100   14    responsive to that Notice of
15          Self-reported Health                        15    Deposition.
16          Conditions and Pesticide                    16         Did you receive documents from
17          Exposures on a Probability of               17    Mr. Travers?
18          Follow-up in a Prospective                  18         MR. HOLLINGSWORTH: Yes.
19          Cohort Study"                               19         MS. WAGSTAFF: Those are the only
20   Exhibit 26-10 Document entitled, "Using      108   20    responsive documents to that Notice of
21          Multiple Imputation to Assign               21    Deposition.
22          Pesticide Use for                           22         Nonetheless, plaintiffs object to
23          Nonresponders in the Follow-Up              23    the scope of number 7, 8, 9, 10, 11, 1
24          Questionnaire"                              24    and partially 2 based on the fact that
25                                                      25    they are beyond the scope of PTO 34.

                                            Page 7                                             Page 9
 1                                                       1           MR. LASKER: OK, I don't remember
 2          THE VIDEOGRAPHER: This the start             2       what those numbers are, but I take
 3      of video number up with of Dr. Alfred            3       your --
 4      Neugut, In re RoundUp Products                   4           MS. WAGSTAFF: You haven't
 5      Liability Litigation on January 3,               5       memorized them?
 6      2018, at approximately 10:09 a.m.                6           MR. LASKER: I will take your
 7          My name is Manuel Garcia. I'm                7       objection under consideration, but
 8      the legal video specialist for TSG               8       since, as I understand it, no documents
 9      Reporting Inc. The court reporter is             9       were withheld on those grounds, it is a
10      Mary Bowman, in association with TSG            10       moot point, I guess.
11      Reporting.                                      11   EXAMINATION BY
12          Counsel, please introduce                   12   MR. LASKER:
13      yourselves.                                     13       Q. Good morning, Dr. Neugut. I know
14          (Whereupon, counsel placed their            14    you have been before this before and we
15      appearances on the audio record)                15    have been before this before together. So
16          THE VIDEOGRAPHER: Will the court            16    I am just going to jump right in if that's
17      reporter please swear in the witness.           17    OK with you.
18   ALFRED I. NEUGUT, M.D. Ph.D.,                      18       A. Sure.
19     called as a witness by the defendants,           19       Q. Dr. Neugut, would you agree it is
20     having been duly affirmed, testified as          20    standard scientific methodology, when new
21     follows:                                         21    scientific evidence emerges, to consider
22          MS. WAGSTAFF: This is Aimee                 22    whether and how that new evidence impacts
23      Wagstaff on behalf of the plaintiffs.           23    the scientific knowledge ab initio?
24          On November 11, 2017, MDL Judge             24       A. Yes.
25      Chhabria entered PTO 34, which ordered          25       Q. The evolution of knowledge



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                                      Page 10                                            Page 12
 1   through new research and study is, in fact,    1   "Glyphosate Use and Cancer Institute {sic}
 2   integral to the scientific process,            2   in the Agricultural Health Study had been
 3   correct?                                       3   published online, but it will be published
 4      A. Yes.                                     4   in the national -- the Journal for the
 5      Q. Since we last met for your first         5   National Cancer Institute in this coming
 6   deposition, there has been a new               6   year of 2018, correct?
 7   epidemiologic study published that looks at    7      A. Yes.
 8   whether there is an association between        8      Q. You have served as a peer
 9   glyphosate product exposure and                9   reviewer for the Journal of National Cancer
10   Non-Hodgkins lymphoma, correct?               10   Institute, correct?
11      A. Yes.                                    11      A. Yes.
12      Q. And that is the study in -- and         12      Q. How many peer reviewers does the
13   we'll mark this as the first exhibit in       13   NCI Journal typically use to review
14   line.                                         14   manuscripts before it is accepted for
15          MR. LASKER: And I don't know if        15   publication?
16      it makes sense -- I didn't think about     16      A. Two or three.
17      this beforehand, how we are going to       17      Q. The Journal of the National
18      formulate this because we have two         18   Cancer Institute is a highly respected
19      different depositions. Let's make          19   scientific journal, correct?
20      this --                                    20      A. Yes.
21          MS. WAGSTAFF: Haven't we been          21      Q. The Journal of the National
22      doing them numbered 1, 2, 3?               22   Cancer Institute, in fact, is one of the
23          MR. LASKER: Right, I know --           23   most highly respected journals in the
24          MS. WAGSTAFF: Let's make this --       24   world, correct?
25          MR. LASKER: I didn't know which        25      A. It is highly respected, yes.

                                      Page 11                                            Page 13
 1      numbers we were at. Let's -- let's go       1     Q. You are familiar with the rating
 2      off the record on second I'm sorry.         2   scheme that ranks scientific journals based
 3          THE VIDEOGRAPHER: The time is           3   on their impact factor, correct?
 4      10:13. We are going off the record.         4     A. Yes.
 5          (Recess)                                5     Q. What is an impact factor?
 6          THE VIDEOGRAPHER: The time is           6     A. An impact factor is a measure of
 7      10:16. We are back on the record.           7   how often the papers that are published in
 8          (Exhibit 26-1, document entitled        8   the journal are cited by another in other
 9      "Glyphosate Use and Cancer Incidence in     9   publications.
10      the Agricultural Health Study" marked      10     Q. That would be other scientists
11      for identification, as of this date.)      11   who are citing to the publication, correct?
12      Q. So back on the record.                  12     A. Correct.
13          I have just marked as Deposition       13     Q. And let me show you and we will
14   Exhibit 26-1 the new study from -- that we    14   mark this as Exhibit 26-2.
15   are discussing that had lead-off author of    15         (Exhibit 26-2, excerpt from
16   Dr. Andreotti, correct?                       16     "Oxford Academic" marked for
17      A. Yes.                                    17     identification, as of this date.)
18      Q. And this paper was authored by 12       18     Q. This is something that comes from
19   scientists, if I count this correctly, who    19   the website for of the Journal of the
20   have affiliations in one way or another       20   National Cancer Institute and on the third
21   with the National Institutes of Health,       21   page, you will see a listing of the
22   correct?                                      22   journal's impact factors going back from
23      A. Some of them do. Some of them           23   between 2006 and 2016, correct?
24   have other affiliations, but wherever.        24     A. Yes.
25      Q. And the publication is entitled,        25     Q. The Journal of the National



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                                      Page 14                                            Page 16
 1   Cancer Institute routinely ranks among the     1           MS. WAGSTAFF: All right.
 2   top 5 percent of all oncology journals in      2      Q. It is fair to say, Dr. Neugut,
 3   the world, correct?                            3   that the 2018 NCI study is significantly
 4      A. Yes.                                     4   more powerful in looking to an association
 5      Q. The 2018 National Cancer                 5   between glyphosate-based herbicides and
 6   Institute journal study that we have been      6   Non-Hodgkins lymphoma than DeRoos 2005,
 7   talking about that has been marked as          7   correct?
 8   Exhibit 26-1 provides updated data for the     8           MS. WAGSTAFF: Object to form.
 9   agricultural study cohort based upon           9      A. Powerful in what sense?
10   additional years of follow-up of 54,251       10      Q. In the ability to detect
11   pesticide applicators, correct?               11   statistical significance of an association?
12      A. Yes.                                    12      A. Yes.
13      Q. The study updated, and I think          13      Q. With -- there are, in fact,
14   they say this in the abstract, the study      14   significantly more -- let me just show you,
15   updated the previous evaluation of the AHS    15   Dr. Neugut, your initial expert report, and
16   cohort, previous evaluation of glyphosate     16   this is on page 12. We have a copy for you
17   with Cancer Institute incidence from          17   if you just want to look it. I won't mark
18   residency linkage through 2012 for North      18   it as an exhibit.
19   Carolina and for 2013 in Iowa, correct?       19           MS. WAGSTAFF: You can read as
20      A. Yes.                                    20      much as you want of the report.
21      Q. The 2018 NCI Study, thus, had           21      Q. I am going to ask you to confirm
22   cancer institute for these 54,251 pesticide   22   the number --
23   applicators extending nearly 40 years after   23      A. What is this document?
24   the introduction of glyphosate on to the      24      Q. So this is your initial expert
25   market, correct?                              25   report?

                                      Page 15                                            Page 17
 1     A.     Yes.                                  1          MS. WAGSTAFF: Can I have a copy
 2           MS. WAGSTAFF: Objection to form.       2      please?
 3      Q. There are in total 575 cases of          3      A. You mean from some months ago?
 4   Non-Hodgkins lymphoma among these pesticide    4      Q. Yeah. And the only information
 5   applicators, some of whom have been exposed    5   on here is just to confirm your
 6   to glyphosate-based herbicides and some of     6   recollection, you're talking about the
 7   whom have not been, correct?                   7   DeRoos 2005 study and there is -- you have
 8      A. Yes.                                     8   indicated the number of NHL cases for
 9      Q. The prior publication analyzed an        9   Non-Hodgkins lymphoma and it is about
10   AHS cohort which is the DeRoos 2005 study     10   midway through the first paragraph as being
11   was based on 92 NHL cases, correct?           11   92 cases of Non-Hodgkins lymphoma in the
12      A. I don't recall.                         12   2005 DeRoos study, correct?
13           MR. LASKER: Let's pull out            13          MS. WAGSTAFF: Doctor, if you
14      Dr. Neugut's initial expert report.        14      need to read the whole part about
15           MS. WAGSTAFF: Counsel, I'll let       15      DeRoos 2005 to get your bearings, you
16      you ask a couple questions on this, but    16      certain can and I renew my previous
17      this deposition was not designed nor       17      objection.
18      allowed to revisit his initial report      18          Are you marking this as an
19      and so he is prepared nor ready to talk    19      exhibit?
20      about his initial report right now. So     20      A. I'm not seeing where -- I see,
21      depending on how deep you go into his      21   OK. Yes, it says 92 cases. Is that what
22      initial report, I may instruct him not     22   you are referring to?
23      to answer.                                 23      Q. Yes.
24           MR. LASKER: Not going very deep       24      A. Um-hm, yes.
25      at all. Just a number of things.           25      Q. So the 2018 NCI study with



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                                      Page 18                                            Page 20
 1   respect to Non-Hodgkins lymphoma has           1   glyphosate-based herbicides in that study,
 2   roughly six times the number of NHL cases      2   correct?
 3   as the 2005 DeRoos study, correct?             3      A. Yes.
 4           MS. WAGSTAFF: Object to form.          4      Q. And you would agree that 440
 5      A. That's correct.                          5   exposed NHL cases provides enough power to
 6           MS. WAGSTAFF: You keep calling         6   address statistically the question whether
 7      it the 2018 study. I don't know if you      7   glyphosate-based herbicide exposure is
 8      mean to be doing that.                      8   associated with Non-Hodgkins lymphoma,
 9           MR. LASKER: It's going to be           9   correct?
10      published in 2018, so.                     10      A. Can you state that question
11      Q. There are, in fact, significantly       11   again?
12   more NHL cases with exposure to glyphosate    12      Q. Sure. You would agree that with
13   in the 2018 NCI study than there are in all   13   440 exposed NHL cases, the 2018 NCI study
14   of the case control studies of glyphosate     14   has enough power, statistically, to address
15   in Non-Hodgkins lymphoma combined, correct?   15   the question whether glyphosate exposure is
16      A. I wouldn't know.                        16   associated with Non-Hodgkins lymphoma,
17      Q. Well, let's again, just to              17   correct?
18   refresh your recollection and continue with   18      A. I would not be able to know
19   your expert report, look at, for example,     19   without doing a power analysis as to
20   the DeRoos -- I'm sorry, the McDuffie         20   whether it could exclude a risk ratio of
21   study -- and that's on page 14 of your        21   1.3 or 1.4. So I don't have any sense of
22   initial report. You can turn to page 14.      22   that.
23      A. 14?                                     23      Q. OK. Let's mark as 26-3, this is
24      Q. The McDuffie paper, if you look,        24   testimony that you provided in connection
25   starting at line 5 of your description of     25   with the Actos litigation and I'll direct

                                      Page 19                                            Page 21
 1   that report with respect to Non-Hodgkins       1   to you certain page.
 2   lymphoma, McDuffie, the McDuffie study         2          (Exhibit 26-3, Deposition
 3   looked at 51 exposed cases with                3      Transcript of Alfred Neugut dated
 4   Non-Hodgkins lymphoma, correct?                4      March 12, 2013 marked for
 5      A. Yes.                                     5      identification, as of this date.).
 6      Q. And you would agree -- let me            6      Q. And if you look at the first page
 7   strike that.                                   7   of this transcript, you will see this is
 8          For the 2018 NCI study, there           8   testimony that you provided in court during
 9   were 440 cases of Non-Hodgkins lymphoma        9   the trial of Jack Cooper. Do you see that?
10   with exposures to glyphosate, correct?        10      A. Yes.
11      A. You are talking about in the            11      Q. And on page 46, --
12   ever/never --                                 12      A. 41?
13      Q. Sure, if you can look on desk --        13      Q. 46. So there is four pages on a
14   look at the 2018 study and particularly it    14   page, so it's actually on the top right of
15   at table 2, which is on page 5. There is      15   each of the four squares, you will see the
16   the breakdown of Non-Hodgkins lymphoma for    16   number.
17   never exposure and the four quadrants of      17          So if you go to page 46 of that
18   exposure, correct?                            18   testimony.
19      A. Yes.                                    19      A. Yes.
20      Q. And we have 135 cases of                20      Q. Here, you are answering questions
21   Non-Hodgkins lymphoma out of the 575 that     21   from plaintiff's counsel who is also
22   had no exposure, correct?                     22   plaintiff's counsel in this litigation,
23      A. Yes.                                    23   Mr. Miller, correct?
24      Q. Which means we have 440 cases of        24      A. Yes.
25   Non-Hodgkins lymphoma with exposure to        25      Q. And you are looking, talking



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                                      Page 22                                            Page 24
 1   about a study, a cohort study that in this     1   ratio of 1.3, or 1.4?
 2   case was looking at bladder cancer and         2       A. So I did not do it up front and I
 3   exposure to Actos, correct?                    3   don't know if the -- I don't know if the
 4       A. Yes. Yes.                               4   investigators did it either. I don't
 5       Q. In that case you were talking           5   recall seeing it in the -- I don't recall
 6   about a study with 470 people with bladder     6   seeing it in the publication. It's not
 7   cancer. And that, I take it, was either        7   mentioned, to my recollection.
 8   who had exposure to Actos or who did not,      8            You could look through the paper
 9   correct?                                       9   and see. I don't recall seeing it in --
10       A. I don't recollect, but I assume        10   usually it is put in the methods section if
11   it was talking about exposure to Actos,       11   it's done and I don't recall seeing it in
12   yes.                                          12   the methods section either.
13           MS. WAGSTAFF: I will object to        13       Q. Have you done any power analyses
14       taking snippet of testimony out of        14   for glyphosate epidemiology to determine
15       context of the entire litigation.         15   the relative strength of studies with
16       Q. And with respect to the Actos          16   respect to power to detect increased or --
17   litigation, in response to a question by      17   association?
18   plaintiff's counsel, you testified that 470   18       A. Sure. And usually the -- OK.
19   exposed cases gave you a reasonable shot of   19   I'll let it go then.
20   having statistical power to really address    20       Q. The -- I think, as you mentioned,
21   the question that we are all interested in,   21   the issue that you look at is the number of
22   correct?                                      22   exposed cases with Non-Hodgkins lymphoma?
23       A. There, we were talking about -- I      23       A. As compared to the controls. I
24   don't know what the risk ratios were that     24   mean both numbers are relevant.
25   were being discussed in my recollection at    25       Q. Now, the 12 investigators that

                                      Page 23                                            Page 25
 1   this time at the time.                         1   published the 2018 NCI study, in their
 2           I mean, if one wants to know how       2   abstract of the paper, conclude, in their
 3   much statistical power there is, one has to    3   conclusion statement, "In this large
 4   do a formal -- or one should do a formal       4   prospective cohort study, no association
 5   statistical analysis to be able to             5   was apparent between glyphosate and any
 6   determine that. The size of the cohort is      6   solid tumors or lymphoid malignancies
 7   really not the issue. 115,000 people is        7   overall including NHL and its subtypes."
 8   really irrelevant or whether it is 50,000      8           Did I read that correctly?
 9   people.                                        9      A. Yes.
10           You're correct in talking about       10      Q. And in the conclusion section in
11   the number of exposed cases. It's the end     11   the text of their study, on page 712, the
12   number of end points. But again, I can't      12   investigators state, "Again, in our study,
13   ascertain -- and it also depends on the       13   we observe no associations between
14   exposure -- on how many are -- how many       14   glyphosate use and NHL overall or any of
15   unexposed there are, et cetera.               15   its subtypes."
16           So I have no idea if we are           16           Correct?
17   talking about risk ratios of 1.3 or 1.4 or    17      A. I'm not seeing where you're
18   1.5, I have no idea how many cases one        18   reading, I'm sorry.
19   would need to have enough statistical power   19      Q. It's up on the screen as well,
20   to address the issue and whether the study    20   but it's on page 7 and it is the first
21   was large enough to ascertain that.           21   column. And the 12 investigators --
22      Q. You had not done any analysis           22      A. Oh, I see.
23   then to determine whether or not the 440      23      Q. -- in this paper state, "In our
24   exposed NHL cases in the 2018 NCI Study       24   study, we observed no associations between
25   provides power sufficient to detect a rate    25   glyphosate use and Non-Hodgkins lymphoma



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                                      Page 26                                            Page 28
 1   overall or any of its subtypes." Correct?      1          MS. WAGSTAFF: Objection, asked
 2      A. Yes.                                     2      and answered.
 3      Q. They further state that this lack        3      A. Yes.
 4   of association was consistent for both         4      Q. Let's look at the rate ratios
 5   exposure metrics -- and that's intensity       5   that were reported in the study for
 6   weighted, cumulative days of exposure, and     6   Non-Hodgkins lymphoma and we will look back
 7   separately, cumulative days of exposure,       7   again to table 2, and this is on page 5.
 8   correct?                                       8   We can go down a little bit and look at
 9      A. Yes.                                     9   this one a little closer.
10      Q. The lack of association was also        10          Table 2 is setting forth a
11   consistent for unlagged and lagged analyses   11   finding -- are you OK?
12   looking at different periods of time of       12      A. Sorry.
13   exposure, correct?                            13      Q. Table 2 sets forth the findings
14      A. Yes.                                    14   from the 2018 NCI Study based upon
15      Q. And it was -- the lack of               15   intensity weighted cumulative days of
16   association was also consistent after --      16   exposure, correct?
17   consistent after further adjustments for      17      A. Yes.
18   pesticides linked to NHL in previous          18      Q. And as you mentioned earlier, the
19   analyses, correct?                            19   first category, the "none" in this table
20      A. Yes.                                    20   would be "never" exposure, correct? For --
21      Q. And the lack of association was         21   and we will look specifically -- there is a
22   also found when they excluded multiple        22   number of different cancers here, but let's
23   myeloma from the Non-Hodgkins lymphoma        23   look at Non-Hodgkins lymphoma.
24   grouping, correct?                            24          So we have 135 cases which would
25      A. Yes.                                    25   be in the never exposure category, correct?

                                      Page 27                                            Page 29
 1      Q. This statement by the                    1      A. Um-hm, yes.
 2   investigators accurately reports the           2      Q. And then we have four categories
 3   reported findings of the 2018 NCI study        3   that would make up in aggregate those
 4   with respect to glyphosate and Non-Hodgkins    4   people who had exposure or were considered
 5   lymphoma, correct?                             5   "ever" exposure to glyphosate, correct?
 6          MS. WAGSTAFF: Object to form.           6      A. Yes.
 7      A. It reports what they reported.           7      Q. And the never/ever rate ratio for
 8      Q. And this statement of the study          8   Non-Hodgkins lymphoma and glyphosate
 9   findings was accepted by the Journal of        9   exposure in the 2018 study, NCI Study would
10   National Cancer Institute after independent   10   be approximately 0.85, correct?
11   peer review, correct?                         11      A. In that ballpark. I don't recall
12      A. It's what was published. I don't        12   the exact number, but it was around that.
13   believe the Journal of the National Cancer    13      Q. The -- when we talk about
14   Institute would claim infallibility or that   14   intensity weighted exposure, let's define
15   every study it publishes is totally           15   that or let's let the investigators of --
16   accurate or correct.                          16   the NIH investigators explain clearly what
17      Q. I understand. But the statement         17   that means.
18   of the study's findings that there was no     18          On page 2 of the Andreotti study,
19   association between glyphosate-based          19   they explained, and it is on the second
20   herbicides and Non-Hodgkins lymphoma,         20   column towards the top, they explain how
21   looking at it from all these different        21   the intensity score was derived for the
22   angles, that statement was accepted by the    22   purposes of their analysis, correct?
23   Journal of National Cancer Institute to be    23      A. We are now on page 2 on the top
24   published in its journal after independent    24   of the second column?
25   peer review, correct?                         25      Q. Yes, and you can see on the



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                                      Page 30                                            Page 32
 1   screen where I'm pointing.                     1   first supplemental table, it's in your --
 2      A. OK. Yes.                                 2      A. Do I have that?
 3      Q. And the intensity score was              3      Q. Yes, keep turning the pages,
 4   derived from an algorithm first based on       4   you'll get past the references and then
 5   literature-based measurement --                5   there will be a first supplemental table,
 6   literature-based measurements, correct?        6   table 1. Do you see that?
 7      A. Yes.                                     7      A. Yes.
 8      Q. And also on information provided         8      Q. This is the second exposure
 9   by the applicator, specifically whether the    9   method, correct? Cumulative days? This is
10   participant mixed or applied pesticides,      10   measuring for cumulative days, correct?
11   correct?                                      11      A. Yes.
12      A. Yes.                                    12      Q. And if you look at the dose
13      Q. Whether the applicator repaired         13   response analysis for Non-Hodgkins lymphoma
14   pesticide-related equipment, correct?         14   by the separate exposure metrics, again,
15      A. Yes.                                    15   there is no evidence of a dose response for
16      Q. Whether the applicator used             16   glyphosate-based herbicide exposure and
17   personal protective equipment, correct?       17   Non-Hodgkins lymphoma or any of its
18      A. Yes.                                    18   subtypes, correct?
19      Q. And what application method was         19          MS. WAGSTAFF: Object to form.
20   used by the applicator, correct?              20      A. Correct.
21      A. Yes.                                    21      Q. And the 2018 NCI Study also found
22      Q. And going back now to table 2, on       22   no evidence of an association between
23   page 5, and the findings for Non-Hodgkins     23   exposure to glyphosate-based herbicides and
24   lymphoma are in the 2018 NCI Study, the NIH   24   Non-Hodgkins lymphoma when they limited
25   scientists reported that there was a lower    25   their analysis to different periods of time

                                      Page 31                                            Page 33
 1   incidence of Non-Hodgkins lymphoma in each     1   of exposure, correct?
 2   of the four different levels of glyphosate     2          MS. WAGSTAFF: Object to form.
 3   exposure groups as compared to no exposure,    3      A. Can you clarify that?
 4   correct?                                       4      Q. So -- sure. The NCI, the 2018
 5          MS. WAGSTAFF: Object to form.           5   NCI Study conducted various lag analyses
 6      A. Not a low incidence.                     6   looking at exposures in different periods
 7      Q. I didn't say -- a lower                  7   of time to glyphosate-based herbicides,
 8   incidence. Let me repeat the question.         8   correct?
 9          The NHL scientists reported there       9      A. Yes.
10   was a lower incidence of Non-Hodgkins         10      Q. And each of those time periods
11   lymphoma in each of the glyphosate-exposed    11   that they looked at for exposure, they did
12   groups than there was in the group with no    12   not find evidence of an association between
13   glyphosate exposure, correct?                 13   glyphosate-based herbicides and
14      A. Yes.                                    14   Non-Hodgkins lymphoma, right?
15      Q. Based upon -- OK. And the NCI           15      A. Right.
16   Study also found no evidence of a dose        16          MS. WAGSTAFF: Object to form.
17   response for glyphosate intensity-weighted    17      Q. Some of these -- for example, the
18   days of exposure for Non-Hodgkins lymphoma    18   12 NIH investigators looked to see whether
19   or any Non-Hodgkins lymphoma subtype,         19   there was any association between
20   correct?                                      20   glyphosate-based herbicides and
21      A. Correct.                                21   Non-Hodgkins lymphoma if they limited their
22      Q. The 2018 study also found no            22   analyses to exposures that occurred either
23   evidence of a dose response and this is in    23   15 years before or 20 years before their
24   one of the supplemental tables, table 2, --   24   diagnosis with Non-Hodgkins lymphoma,
25   I'm sorry, table 1. So if we go to the        25   correct?



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                                      Page 34                                            Page 36
 1      A. Can you repeat that question. I          1      Q. That analysis would then look at
 2   am sorry.                                      2   glyphosate-based herbicide exposure
 3      Q. Sure. The NIH scientists who             3   following the introduction of RoundUp Ready
 4   conducted the 2018 NCI study looked to see     4   crops, correct?
 5   if there was any association between           5      A. Yes.
 6   glyphosate-based herbicides and                6      Q. There was no evidence, in the
 7   Non-Hodgkins lymphoma if they limited their    7   2018 NCI Study, of an association between
 8   analyses to exposures that took place          8   Non-Hodgkins lymphoma and glyphosate-based
 9   either 15 years before or 20 years before      9   herbicide exposure subsequent to the
10   either the end of the follow-up period or     10   introduction of RoundUp Ready crops,
11   the date of diagnosis, correct?               11   correct?
12      A. Yes.                                    12         MS. WAGSTAFF: Object to form.
13      Q. So each of those analyses look at       13      A. Yes.
14   exposures to glyphosate that date back        14      Q. In fact, the rate ratios for
15   before the introduction of RoundUp Ready      15   Non-Hodgkins lymphoma for the highest dose
16   crops, correct?                               16   of exposure were even lower when they
17          MS. WAGSTAFF: Object to form.          17   included exposures that occurred during the
18          Answer if you know.                    18   period after the introduction of RoundUp
19      A. So the lagging took out the cases       19   Ready crops, correct?
20   that occurred during specific time frames     20      A. I don't know offhand.
21   after the exposure was measured.              21      Q. If you look at, again, table --
22      Q. So the lagging, if I understand         22   why don't we look at table 3 in this
23   correctly, and correct me if I am wrong,      23   analysis, and this is on page 6. You've
24   for the 15-year lag -- let's start the        24   reviewed all these tables, of course,
25   20-year lag. It's easier math.                25   before today, right?

                                      Page 35                                            Page 37
 1          The 20-year lag, you are looking        1      A. Of course.
 2   at the exposure that took place at least 20    2      Q. So table 3 in the 2018 NCI Study
 3   years prior to the end of the follow-up        3   has lag analyses that look at those two
 4   period which is 2012 or 2013, correct?         4   time periods, five-year lag, which would
 5      A. I haven't thought about it in            5   include exposures after the introduction of
 6   that way before, but let me think about it     6   RoundUp Ready crops, and the 20-year lag,
 7   for a moment.                                  7   which would be limited to exposures prior
 8          Yes.                                    8   to the introduction of RoundUp Ready crops
 9      Q. And then when the 2018 NCI Study         9   and for Non-Hodgkins lymphoma, the
10   looked at exposures dating back to that       10   incidence of glyphosate -- I'm sorry, the
11   period prior to the introduction of RoundUp   11   incidence of Non-Hodgkins lymphoma, the
12   Ready crops, there was no evidence of an      12   highest exposure level after the
13   association from that glyphosate-based        13   introduction of RoundUp Ready crops was
14   exposure and nonHodgkins lymphoma, correct?   14   even lower than it was prior to the
15          MS. WAGSTAFF: Object to form.          15   introduction of RoundUp Ready crops,
16          Answer if you know.                    16   correct?
17      A. Correct.                                17      A. Which number are you referring
18      Q. The NIH scientists also looked to       18   to?
19   see if there was any association between      19      Q. So the highest exposure would be
20   glyphosate-based herbicides and               20   quadrant 4, correct?
21   Non-Hodgkins lymphoma if they included        21      A. You are talking about 0.87?
22   exposures that occurred either within five    22      Q. 0.87, correct?
23   years or within ten years of the end of the   23      A. Yeah.
24   study period of 2012, 2013, correct?          24      Q. In your supplemental expert
25      A. Yes.                                    25   report, you state that there is -- this is



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 1   at -- I guess we should mark this. We          1   into a metanalysis.
 2   didn't mark this yet.                          2      Q. I understand that. Let me ask
 3           MS. WAGSTAFF: What table is that       3   the question this way: If the 2018 NCI
 4      there?                                      4   Journal of National Cancer Institute study
 5           MR. LASKER: Table 3.                   5   was included in the metanalysis -- when
 6           MS. WAGSTAFF: Oh, from the             6   we've discussed previously how that
 7      supplemental.                               7   metanalysis -- the methodology that was
 8      Q. So let's mark your supplemental          8   used for that metanalysis, if the 2018
 9   expert report as 26-4.                         9   Journal of National Cancer Institute study
10           (Exhibit 26-4, Supplemental           10   was included in the metanalysis, the
11      Expert Report of Alfred Neugut marked      11   relative risk would be lower than reported
12      for identification, as of this date.)      12   in the 2015 metanalyses, correct?
13      Q. Dr. Neugut, at page 11 in your          13           MS. WAGSTAFF: Objection. The
14   supplemental expert report, you discuss a     14      witness has stated that he does not
15   relative risk, what you describe as a --      15      believe it should be included.
16   this is the bottom of the page, a modest      16      A. So I mean, again, if -- the I
17   relative risk of 1.3 to 1.4 for ever/never    17   mean, the first part in doing a metanalysis
18   use of glyphosate. Do you see that?           18   is to evaluate the quality of the study,
19      A. Yes.                                    19   and if I don't think the quality of the
20      Q. And this modest relative risk of        20   study merits inclusion, I wouldn't concur
21   1.3 to 1.4 is the number that you obtained    21   that it should be included.
22   from the metanalyses that were conducted of   22           If you want to include a study
23   the glyphosate epidemiologic literature       23   that I don't think should be included and
24   back in 2015, correct?                        24   get a result that I don't think is
25      A. Yes.                                    25   accurate, then you can get any conclusion

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 1       Q. You would agree that an updated         1   you like.
 2   metanalysis of the current body of             2      Q. I understand that. I want to
 3   epidemiologic data on glyphosate and           3   separate this out though to make sure I
 4   Non-Hodgkins lymphoma would result in a        4   understand the math.
 5   lower relative risk, correct?                  5          If the 2018 NCI Study results are
 6           MS. WAGSTAFF: Object to form.          6   included in the metanalysis, that would
 7       A. No.                                     7   result in a lower relative risk than is
 8       Q. The 2015 metanalysis included the       8   reported in the metanalyses that you rely
 9   DeRoos 2005 analysis of the Agricultural       9   upon, correct?
10   Health Study cohort, correct?                 10          MS. WAGSTAFF: Objection, asked
11       A. Yes.                                   11      and answered three times.
12       Q. And that analysis, which was, as       12          THE WITNESS: Am I supposed to
13   we already discussed, with a smaller number   13      answer?
14   of cases reported an ever/never rate ratio    14      Q. Yes.
15   of 1.1, correct?                              15      A. I wouldn't really know.
16       A. I don't recall the figure, but         16      Q. So is it my understanding then
17   I'll take your word for it.                   17   that you cannot determine whether replacing
18       Q. An updated metanalysis, if it          18   a study that reported a 1.1 rate ratio with
19   were to include the 2018 NCI journal study,   19   92 cases with a study with 0.85 rate ratio
20   would substitute the 2005 analysis with a     20   with 575 cases, you're not able to
21   larger study that has a lower ever/never      21   determine, sitting here, whether that would
22   rate ratio, correct?                          22   lower the meta-relative risk?
23           MS. WAGSTAFF: Object to form.         23          MS. WAGSTAFF: Objection, asked
24       A. I wouldn't necessarily concur          24      and answered, and the doctor has said
25   that the JNCI study should be amalgamated     25      he does not believe it should be



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 1      included which is why he doesn't know.      1   believe her.
 2      Q. It is still a fairly simple              2      Q. OK, well, you're looking at the
 3   mathematical issue thought, isn't it,          3   data though. It is not really an issue of
 4   Dr. Neugut?                                    4   Dr. Mucci itself or herself or what you
 5          MS. WAGSTAFF: Objection,                5   know about her.
 6      argumentative.                              6          But looking at Dr. Mucci's
 7      Q. This is not complicated math, is         7   analyses, and again, do you have any reason
 8   it?                                            8   to believe that the calculation of the
 9      A. Clearly, if it were included,            9   meta-relative risk, the mathematical
10   incorrectly included, it would give you an    10   calculation of 0.9 is incorrect?
11   incorrect -- it would incorrectly obviate     11          MS. WAGSTAFF: Objection,
12   the elevated risk.                            12      Dr. Neugut has already testified that
13      Q. The meta-relative risk would be         13      he doesn't believe that the 2017 AHS
14   lower, correct?                               14      study should be included in
15      A. Yes.                                    15      metanalysis?
16      Q. Let me show you an expert report        16      A. I mean, actually, based on her
17   that has been prepared by Monsanto's          17   analysis, we should all be taking RoundUp
18   experts, supplemental report by Dr. Mucci.    18   to protect us against Non-Hodgkins
19          MS. WAGSTAFF: Are you marking it       19   lymphoma.
20      as exhibit?                                20      Q. Is it your determination she
21          MR. LASKER: Yes.                       21   decided there was a statistically
22          MS. WAGSTAFF: So I think it is         22   significant decreased risk of Non-Hodgkins
23      26-5.                                      23   lymphoma?
24          (Exhibit 26-5, Supplemental            24          MS. WAGSTAFF: Objection --
25      Expert Report of Lorelei Mucci marked      25      A. Just missing it.

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 1      for identification, as of this date.)       1      Q. So do you have any reason to
 2      Q. Dr. Mucci, in her expert report,         2   believe, looking at the numbers that
 3   provides her calculations of a                 3   Dr. Mucci reports for the four
 4   meta-relative risk based on the current        4   epidemiological studies that she used in
 5   available epidemiologic data of                5   her analysis -- again, the 2018NCI study,
 6   glyphosate-based herbicides and                6   the North American Pooled Project study,
 7   Non-Hodgkins lymphoma.                         7   the Eriksson study and the Orsi study -- do
 8          Now, I understand that you have         8   you have any reason to believe that her
 9   disagreements to which studies you would       9   calculation of a meta-relative risk of 0.9
10   include in a metanalysis. But let me ask      10   is incorrect?
11   you first, Dr. Mucci, in her metanalysis of   11      A. No.
12   the epidemiologic literature, which           12          MS. WAGSTAFF: Objection, also,
13   includes the 2018 NCI Study, the North        13      Dr. Neugut testified in his first
14   American Pooled Project, the Eriksson study   14      deposition that he wasn't relying on
15   and Orsi study, she calculates a              15      the NAPP study.
16   meta-relative risk for glyphosate-based       16          MR. LASKER: OK. I'm going to
17   herbicide and Non-Hodgkins lymphoma of 0.9.   17      give you some leeway with your
18          Did I read that correctly?             18      objections, but these are not
19      A. Yes.                                    19      objections now. These are just
20      Q. Do you have any reason to believe       20      testimony and that is not proper.
21   that Dr. Mucci, using the studies that she    21          You can object to form,
22   used, calculated this meta-relative risk      22      certainly, but objections that include
23   figure 0.9 incorrectly?                       23      substantive information is not
24      A. I don't know Dr. Mucci, so I            24      appropriate for an objection.
25   don't have any reason to believe or not       25          MS. WAGSTAFF: I will remind



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 1      counsel that plaintiffs actually tried              1      A. I'm sorry, which exhibit?
 2      to get an order where we limited                    2      Q. Your initial expert report. I
 3      objections to form that was strenuously             3   don't know if we have marked it. We can if
 4      objected to by Monsanto. So -- and                  4   you want.
 5      applied by the court so I will take                 5      A. We are talking about my original
 6      heed to your request, and I think that              6   report from way back when?
 7      everything I've said is completely                  7      Q. Right.
 8      appropriate.                                        8      A. Yup.
 9      Q. OK. Dr. Neugut --                                9      Q. So at page 12 of your initial
10      A. I would say that I don't know the               10   expert report, you're talking about
11   NAPP study. So if that's a significant                11   criticisms that you had of the previous
12   part of this, I'm not testifying on the               12   published analysis of the AHS cohort which
13   NAPP study or its inclusion or                        13   was the 2005 DeRoos publication, correct?
14   noninclusion. So if that's playing a                  14      A. Yes.
15   significant role here, I'm not prepared               15      Q. The first criticism you had of
16   or -- to talk about that.                             16   the DeRoos 2005 study which is, again, on
17      Q. And I was going to get to this                  17   page 12 of your initial expert report, you
18   question later, but I'll ask you now, but I           18   stated that the investigators would need to
19   think it is clear from the record, am I               19   follow the AHS cohort for a much longer
20   correct in my understanding that you still            20   period of time in order to adequately
21   have not reviewed the NAPP study?                     21   evaluate cancer and specifically NHL risk
22      A. It's not a peer-reviewed                        22   from glyphosate exposure, correct?
23   publication.                                          23      A. Yes.
24      Q. OK, I need the record -- an                     24      Q. The 2018 NCI Study includes
25   answer for the record. Am I correct in my             25   either 11 or 12 more years of follow-up of

                                            Page 47                                              Page 49
 1    understanding that you have not reviewed              1   cancer outcomes in the AHS cohort, correct?
 2    the NAPP study?                                       2      A. Yes.
 3        A. Correct.                                       3      Q. The second criticism that you
 4        Q
          Q. Dr. Neugut,  g , do you
                                  y believe that            4   made of the DeRoos 2005 study in your
 5    the 2018 NCI Studyy strengthensg      or weakens      5   initial expert report was for its alleged
 6    the epidemiological
            p            g      evidence in support
                                              pp of         6   failure to look at different dates of
 7   yyour opinion
               p       of an association between            7   exposure to assess the disease latency
 8   gglyphosate-based
         yp                 herbicides and                  8   period for Non-Hodgkins lymphoma, correct?
 9    Non-Hodgkins g      lymphoma?
                           y p                              9      A. Yes.
10        A. I think it is noncontributory.                10      Q. And as you have already
11        Q. So am I correct in my
          Q                            y                   11   testified -- as you have already testified
12   understanding     g that yyou do not believe that     12   today, the 2018 NCI Study does conduct
13    the 2018 NCI Study     y pprovides evidence at all   13   analyses and provide rate ratios for
14    with respect
                 p to with whether there is an             14   different time periods or lagged periods of
15    association between gglyphosate-based
                                  yp                       15   exposure to assess disease latency,
16    herbicides and Non-Hodgkins lymphoma?                16   correct?
17        A. Yes.                                          17      A. Yes.
18        Q. Now, in your initial report, --               18      Q. The third criticism that you had
19    and this is discussing the AHS cohort, so            19   of the 2005 AHS study dealt with the issue
20    it is still part of this, the same cohort            20   of potential confounding from other
21    that we are studying, but I want to make             21   pesticides. And I -- I'm -- I think your
22    sure I understand which of your opinions             22   testimony on that was pretty clear from the
23    extend to the 2018 NCI Study. So let's               23   first deposition, so I'm going to jump over
24    look back -- we -- you still have a copy of          24   that one for now and talk about --
25    your original expert report, correct?                25           MS. WAGSTAFF: Object to form.



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 1      Q. The fourth criticism you had             1      Q. And you, in your expert report,
 2   which is nondifferential exposure and          2   raise a number of criticisms of the study
 3   misclassification, correct?                    3   design that you believe could have led to
 4      A. OK.                                      4   such nondifferential exposure,
 5      Q. That is the issue that you focus         5   misclassification and attenuation of risk
 6   on in connection with your analysis also of    6   estimates correct?
 7   the 2018 NCI Study, correct?                   7      A. I think I misread the discussion.
 8      A. Yes.                                     8      Q. Yes.
 9      Q. So let's talk about those                9      A. I misread this quotation.
10   criticisms and you can put away your old --   10      Q. I'm not sure I understand your
11   your prior expert report.                     11   answer then. In your expert report --
12          If I understand correctly, the         12      A. I put it in here and I --
13   focus of your criticisms of the 2018          13   rereading the paper, I think I misread what
14   National Cancer Institute is a possibility    14   was -- what the paper says.
15   of misclassification of exposures, correct?   15      Q. So let me ask you --
16          MS. WAGSTAFF: Object to form.          16      A. So I --
17      A. Yes.                                    17      Q. -- separate from the paper?
18      Q. And you note in your supplemental       18      A. I think this quote -- I think my
19   expert report that the NIH investigators      19   interpretation of this quote is in error.
20   who conducted the 2018 NCI Study also note    20      Q. Let me ask you separate from the
21   the possibility of exposure,                  21   quote. In your expert report elsewhere,
22   misclassification bias in their               22   you talk about misclassification of
23   publication, correct?                         23   exposure leading to attenuating risk
24      A. In which publication?                   24   estimates, correct?
25      Q. In the 2018 NCI Study?                  25      A. Yes.

                                      Page 51                                            Page 53
 1      A. Actually, I reread it and I'm not        1      Q. And you would also agree that
 2   sure that they do.                             2   because the 2018 NCI Study is a cohort
 3      Q. Well, let's look at what you have        3   study in which exposure information was
 4   stated in your expert report. And this, I      4   obtained prior to any disease outcome, that
 5   believe, is on page 7 of your supplemental     5   any potential exposure misclassification
 6   expert report.                                 6   would be nondifferential with respect to
 7      A. My supplemental report?                  7   disease outcome, correct?
 8      Q. Yes. What is that, 26-4?                 8      A. So if by that you mean that it is
 9      A. What page are we on?                     9   unbiased, the answer is no, I wouldn't
10      Q. Page 7. And at the top of page 7        10   necessarily agree.
11   of your supplemental report, you quote --     11      Q. No, that wasn't my question. Let
12   and this is an accurate quote from the 2018   12   me ask my question again. Because the 2018
13   NCI journal article, "Despite the specific    13   NCI study --
14   information provided by the applicators       14      A. Right, OK, it's nondifferential
15   about use of glyphosate, some                 15   with regard to disease outcome. Certainly
16   misclassification of exposure undoubtedly     16   when the -- if by that you mean that when
17   occurred." Correct?                           17   the exposure measurement was made, no one
18      A. Yes.                                    18   knew if they were going to get lymphoma --
19      Q. And the NIH investigators further       19      Q. Right?
20   state, "Given the prospective design,         20      A. -- sure.
21   however, any misclassification should be      21      Q. So just so the record is clear,
22   nondifferential and lead to attenuated risk   22   because I'm reading the question and
23   estimates."                                   23   answer, it's not quite.
24          Correct?                               24         Am I correct then that the 2018
25      A. Yes.                                    25   NCI Study, the exposure classification or



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 1   any misclassification would be                 1      Q. Let me start off, explore this
 2   nondifferential with respect to disease        2   and make sure that we can understand each
 3   outcome?                                       3   other.
 4          MS. WAGSTAFF: Objection, asked          4          When we talk about, for example,
 5      and answered.                               5   recall bias in a case control study, that
 6      A. I don't know what that means.            6   is --
 7      Q. OK.                                      7      A. I -- different.
 8      A. That's a phrase that has no              8      Q. -- a situation where you have a
 9   meaning to me.                                 9   potential misclassification that would lead
10      Q. OK. So let me try and rephrase          10   to a -- that is associated both with
11   to make sure that you can -- that you         11   exposure information and disease outcome.
12   understand the question.                      12   And that's what we referred to ultimately
13          In the 2018 NCI Study, to the          13   as a bias that would be differential; it
14   extent that there was any exposure            14   would be pointed in one direction, correct?
15   misclassification in that study, given the    15      A. Well, either direction, but yes.
16   fact that exposure information was obtained   16      Q. And that's because we have a
17   prior to knowledge of disease outcome, that   17   situation where the exposure information is
18   misclassification would be nondifferential    18   tied to the knowledge of the disease and
19   with respect to disease outcome, correct?     19   the disease outcome, correct?
20      A. You just repeated the question.         20      A. If it exists, if -- I mean, it
21   Again, I don't know what that phrase means.   21   doesn't always occur, but when it occurs,
22      Q. There is -- do you have any basis       22   yes.
23   to believe that there was any difference in   23      Q. In a cohort study -- and one of
24   exposure misclassification to the extent      24   the strengths of a cohort study, and I
25   that there was exposure misclassification     25   think you mentioned this previously --

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 1   that was also associated with whether or       1   because the -- these subjects of the study
 2   not the individual would subsequently get      2   do not know whether they're going to get
 3   Non-Hodgkins lymphoma?                         3   Non-Hodgkins lymphoma downward or not,
 4      A. So I will agree that to the              4   there is no basis for a -- if there is a
 5   degree that when the farmers -- the            5   misclassification of exposure, if there is
 6   applicators were answering the questions       6   an error, that's not going to be linked to
 7   with regard to their exposures, that           7   whether or not those individuals also
 8   whatever biases or whatever errors they        8   sometime in the future get Non-Hodgkins
 9   were making in terms of -- or whatever         9   lymphoma, correct?
10   answers they were giving in terms of their    10          MS. WAGSTAFF: Object to form.
11   exposures were independent or unbiased by     11     A. So you don't have recall bias if
12   their knowledge of whether they would         12   that's what you're asking, but you have
13   subsequently develop cancer or lymphoma or    13   other biases.
14   whatever, that's the nature of a cohort       14     Q. Is there any information that you
15   study.                                        15   can identify from the 2018 study whereby
16          But that doesn't mean that their       16   any misclassification of exposure to
17   answers were unbiased. Their answers --       17   glyphosate-based herbicides would be
18   their exposure measurements would have        18   associated with whether or not that
19   been -- could have been and were likely       19   individual in the future gets or does not
20   biased anyway in other ways which would       20   get Non-Hodgkins lymphoma?
21   have then subsequently affected how the       21     A. Repeat the question.
22   subsequent associations would have been       22     Q. Is there any information that you
23   determined with regard to their subsequent    23   can identify from the 2018 NCI Study
24   association with the outcomes.                24   whereby any of the misclassifications of
25          I don't know if that makes sense.      25   exposure that you discuss would be



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 1   associated with whether or not that            1   world of error. But there is a limit to
 2   individual in the future gets or does not      2   how much error you can tolerate when you're
 3   get Non-Hodgkins lymphoma?                     3   in a world of modest risk ratios, and even
 4      A. So you don't need -- there is            4   a small amount of misclassification error
 5   undoubtedly misclassification error. Blair     5   or modest or bias in misclassification
 6   reported that at least for other               6   error is going to eliminate a small risk
 7   pesticides. No one ever measured -- no one     7   ratio.
 8   ever seriously measured it. So the fact        8           So when you get a null result,
 9   that the investigators, the 12                 9   you have to be very skeptical of what you
10   investigators from NIH didn't measure it,     10   find. And that's where we are finding
11   or report it, is a limitation.                11   ourselves here. You have to be very
12          But it's -- there is no such           12   skeptical of a null finding.
13   thing as having exposure classification       13           If you had a -- in fact, most of
14   without having misclassification error and    14   this Andreotti paper is actually totally
15   almost always, misclassification error is     15   focused on the one positive finding. I
16   going to be biased by the nature of the       16   mean, half of the discussion or more is
17   beast.                                        17   talking about the one positive finding that
18          When you ask someone how much          18   they have. Because that's where they are
19   broccoli do you eat, they give you the        19   really comfortable talking about it.
20   wrong answer in how much broccoli they eat.   20           But when you have a null finding,
21   Everyone gives you the wrong answer in how    21   you have to assume that the -- even the
22   much broccoli they eat.                       22   smaller errors eliminated it. And that
23          When you ask 50,000 people how         23   it's really due to the smaller errors. And
24   much broccoli they eat, you are going to      24   all the manipulations in the world, all the
25   get an error in the end of the day in the     25   sensitivity analyses and this and that

                                      Page 59                                            Page 61
 1   measurement of broccoli and it's not going     1   aren't going to make up for the error --
 2   to be -- it's not going to average out to      2   for the smaller errors, even the 10
 3   the correct answer. It's going to average      3   percent, 15 percent errors, and that's what
 4   out in one direction or the other. There       4   I think fundamentally is a problem in the
 5   will be a bias at the end of the day in        5   AHS study, on top of all the other
 6   broccoli. Maybe everyone will                  6   problems -- the AHS study has a lot of
 7   over-estimate how much broccoli they eat       7   problems in it. Each one of which is
 8   because they want to look healthy or there     8   tolerable.
 9   will be a bias one way or the other.           9      Q. Dr. Neugut, we are way beyond any
10          You don't need much bias -- you        10   question and you actually haven't answered
11   don't need much bias to obviate a modest      11   my question so I'm going to ask it again.
12   risk ratio which is what we are talking       12      A. Please.
13   about here. That's the problem when we are    13      Q. The question I asked -- I don't
14   talking about glyphosate and NHL.             14   know if you can turn to the question I
15          I don't need to know how it            15   asked -- was with respect to the exposure
16   relates specifically to NHL because the       16   misclassification that you believe occurred
17   risk -- the problem is you have a             17   in the 2018 NCI study, given the fact that
18   negative -- you have a null association.      18   that exposure information was obtained
19   So when you have a null association, you      19   prior to the date in which any of the
20   can't assume -- if you had a positive         20   members of the cohort contracted
21   association of 2 or 3, I mean, we live --     21   Non-Hodgkins lymphoma or did not, whether
22   in epidemiology, we live in a world of        22   or not there was misclassification is not
23   error. We are very tolerant of error. We      23   associated with disease outcome, correct?
24   love error -- we don't love error. But we     24          MS. WAGSTAFF: Objection, asked
25   are comfortable with error. We live in a      25      and answered.



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                                      Page 62                                            Page 64
 1      A. It wasn't biased by their                1   direction.
 2   knowledge of whether they were going to get    2      A. So I don't specifically know the
 3   the disease or not, if that's what your        3   biases that were operating in the
 4   question is.                                   4   agricultural workers when they gave their
 5      Q. No, my question was any                  5   responses in terms of exposure of their
 6   misclassification that occurred for            6   exposure.
 7   exposure was nondifferential with respect      7          So I can't specifically say how
 8   to disease outcome, correct?                   8   the errors that occurred in their exposure
 9      A. No.                                      9   classification or in their exposure
10          MS. WAGSTAFF: Objection.               10   measurement would have affected the
11      Q. Is there any reason to believe          11   measurement of the association with NHL.
12   that individuals who claim that they had      12          But biases could either attenuate
13   exposure to glyphosate were -- or             13   towards the null, they could attenuate away
14   incorrectly claimed that they had exposure    14   from the null, or they could attenuate
15   to glyphosate were more likely or less        15   below the null.
16   likely to get Non-Hodgkins lymphoma than      16      Q. Can you identify or can you
17   individuals who correctly answered the        17   describe any hypothetical scenario, based
18   exposure question?                            18   upon your review of the 2018 NCI Study, how
19      A. A bias that would have been             19   the exposure misclassification that you
20   introduced with regard to exposure            20   opine may have occurred could have biased
21   classification would have led to some         21   the reported rate ratios away from the
22   errors in how the association would have      22   null?
23   subsequently been observed with regard to     23          MS. WAGSTAFF: Objection, calls
24   an outcome.                                   24      for a hypothetical.
25          If that's what you're asking,          25      A. Can you define --

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 1   then the answer is it would have been -- it    1      Q. Farther away from 1?
 2   would have led to an error in the              2      A. Made it greater than 1?
 3   assessment of the association with NHL.        3      Q. Made it more distant from 1 in
 4      Q. You understand -- and we talked          4   either direction.
 5   about this, you talked about this in your      5      A. So when you have the
 6   expert report -- the issue of these            6   nonresponders, I don't know how the biases
 7   misclassifications biasing and attenuating     7   in nonresponders might -- who are not
 8   risk estimates towards the null?               8   appropriately assessed might have biased
 9      A. I am sorry, you have to --               9   it. So there that would have been -- that
10      Q. You have discussed, in your             10   might have been associated with the
11   expert report, the possibility of these       11   occurrence of NHL and I don't know how that
12   type of misclassification errors biasing      12   might have affected the risk, made it away
13   rate ratios towards the null. Correct?        13   from the null. But since here we are
14      A. Or beyond the null.                     14   seeing -- I'm -- I'm assuming here the most
15      Q. Is there any exposure                   15   of the errors biased towards the null or --
16   misclassification you believe occurred that   16   for the most part.
17   you can explain would have resulted in a      17      Q. OK.
18   bias of the rate ratio away from the null?    18          In your expert report, your first
19   And if so, if you can explain how.            19   criticism of the study was that the NCI
20      A. Beyond the null, you mean?              20   Study obtained exposure information through
21      Q. No, away from null. More distant        21   self-reported answers on questionnaires,
22   from the null.                                22   correct?
23      A. You mean to make the rate ratio         23      A. I'm sorry?
24   greater than 1?                               24      Q. Your first criticism of the NCI
25      Q. Farther from the null in either         25   Study was in your supplemental expert



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 1   report and this is at page 6 in your           1   believed that that was a reliable basis for
 2   report. Is that the NCI Study used --          2   exposure information, correct?
 3   obtained exposure information through          3          MS. WAGSTAFF: Object to form.
 4   self-reported questionnaires, correct?         4      A. Again, everything depends on the
 5      A. Yes.                                     5   context.
 6      Q. Self-reported questionnaires or          6      Q. You have used questionnaire data
 7   obtaining exposure information through         7   to examine associations between various
 8   self-reported questionnaires is a standard     8   dietary factors in cancer, correct?
 9   methodology in epidemiological research,       9      A. Yes.
10   correct?                                      10      Q. And you have published those
11      A. Yes.                                    11   studies in the peer-reviewed literature,
12      Q. And you agree that self-report          12   correct?
13   can be reliable depending on the variable     13      A. Yes.
14   which is being evaluated, correct?            14      Q. And in publishing those studies,
15      A. "Reliable" is a word that has           15   you believed that the self-reported data on
16   a -- has -- varies in terms of how reliable   16   dietary factors was sufficiently reliable
17   reliable is.                                  17   for peer-reviewed publication for potential
18          As we were saying earlier, if          18   associations between those factors and
19   you're 90 percent valid, you're 10 percent    19   cancer, correct?
20   in error and how tolerable -- how tolerable   20      A. Yes.
21   we are to reliability is a question of --     21      Q. The NIH scientists who have been
22   is the whole issue in what we are talking     22   examining the Agricultural Health Study
23   about here.                                   23   have published a number of independent
24      Q. I'm sorry, Dr. Neugut. I was            24   validation studies that sought to measure
25   just quoting your expert report so I          25   the reliability of the exposure information

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 1   thought that would be an easy question.        1   provided in the questionnaires by the AHS
 2          MS. WAGSTAFF: Objection,                2   cohort, correct?
 3      argumentative.                              3     A. Yes.
 4      Q. You state in the indented                4     Q. Let me show you --
 5   paragraph, "Self-report can be reliable        5         MS. WAGSTAFF: We should -- it
 6   depending on the variable which is being       6     hung up.
 7   evaluated." Correct?                           7         THE VIDEOGRAPHER: The time is
 8      A. Yes.                                     8     11:29, we are going off the record.
 9      Q. And you have used self-reported          9         (Recess).
10   questionnaire exposure data in a large        10         THE VIDEOGRAPHER: The time is
11   number of your own published studies,         11     11:31.
12   correct?                                      12         MR. LASKER: Let's mark the next
13      A. Yes.                                    13     document in line, Exhibit 26-6, and the
14      Q. You have used questionnaire data        14     reason we have changed to 26 is we have
15   to examine associations between smoking and   15     been informed during the break that
16   various types of cancer, correct?             16     that should be the proper numbering
17      A. Yes.                                    17     scheme. So all the prior exhibits that
18      Q. And you've used self-reported --        18     had a "25" prefix should be changed to
19   strike that.                                  19     "26."
20          You believe that self-reported         20         MS. WAGSTAFF: Yes, and we have
21   questionnaire data on smoking can be          21     asked the court reporter to go back to
22   reliable for the purposes of epidemiologic    22     the record in the final transcript to
23   research, correct?                            23     reflect 26-1 through 5.
24      A. It depends on the situation.            24         (Exhibit 26-6, document entitled,
25      Q. Certainly for your studies, you         25     "Accuracy of Self-reported Pesticide



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 1      Use Duration Information from Licensed      1   think I cite it.
 2      Pesticide Applicators in the                2      Q. Let me show you the final
 3      Agricultural Health Study" marked for       3   paragraph of this publication. It's on
 4      identification, as of this date.)           4   page 317 of the paper. Dr. Neugut?
 5      Q. Dr. Neugut, I have handed you as         5      A. Which page?
 6   Exhibit 26-6, an article with the lead         6      Q. 317. And the last paragraph
 7   author of Jane Hoppin of the National          7   starts, "The AHS cohort consists of
 8   Institute of Environmental Health Studies,     8   certified pesticide applicators and their
 9   entitled Accuracy of Self-reported             9   spouses. As certified pesticide
10   Pesticide Use Duration Information from       10   applicators, these subjects are trained
11   Licensed Pesticide Applicators in the         11   with regard to pesticide regulations and
12   Agricultural Health Study."                   12   are responsible for the purchase and
13          Have you seen this publication         13   application of chemicals on their
14   before?                                       14   property."
15      A. I don't have a recollection of          15           Did I read that correctly?
16   seeing this particular one, no.               16      A. Um-hm, yes.
17      Q. If I could direct you to page           17      Q. The NIH investigators continue to
18   2 -- I'm sorry, not page 2. Page 316,         18   state, "This involvement with pesticide
19   table 2.                                      19   selection and use makes farmers a
20      A. Table 2?                                20   uniquely -- a unique occupationally-exposed
21      Q. Yes.                                    21   population and suggests why studies of
22      A. And in this analysis, the NIH           22   farmers' self-reports indicate the ability
23   investigators looked at duration of use       23   to provide high quality data regarding
24   information and decade of first use           24   pesticide exposure."
25   information in the questionnaires for         25           Did I read that correctly?

                                      Page 71                                            Page 73
 1   various pesticides.                            1          MS. WAGSTAFF: Object to form.
 2          And with respect to glyphosate,         2      A. Yes.
 3   which is separately listed on table 2, the     3      Q. And this is now -- strike that.
 4   NIH investigators found that only one to       4          If you have not -- and I think
 5   two percent of the AHS cohort respondents      5   we -- this publication also indicates that.
 6   gave inaccurate information on duration of     6   You have not reviewed all of the
 7   use or decade of first use of                  7   publications that the NIH's investigators
 8   glyphosate-based herbicides, correct?          8   have that look at potential accuracy or
 9          MS. WAGSTAFF: Objection. The            9   potential errors in questionnaire responses
10      witness has stated he doesn't remember     10   with respect to glyphosate exposure in that
11      seeing this before. This is a              11   cohort, correct?
12      scientific article that he needs time      12          MS. WAGSTAFF: Object to form.
13      to read the entire thing to give an        13      This is a 2002 publication?
14      accurate answer.                           14      A. I guess I did not. I don't
15      Q. Dr. Neugut, the NIH investigators       15   know -- I can't tell you what I missed.
16   report that there was either a 1 percent or   16      Q. Given that fact that you don't
17   a 2 percent error in the questionnaire        17   know which of these publications and which
18   responses for glyphosate exposure for         18   of these analyses you have reviewed, you
19   duration of use or decade of first use        19   don't have a basis, sitting here today, to
20   information, correct?                         20   dispute the statement that the NIH
21          MS. WAGSTAFF: Same objection.          21   investigators made with respect to their
22      A. I don't know.                           22   conclusions from their analyses as far as
23      Q. You didn't come across this study       23   the accuracy of the exposure information
24   in your review of the literature?             24   from the AHS cohort?
25      A. I don't recall this one. I don't        25          MS. WAGSTAFF: Object to form.



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 1      A. I believe I cited in my report,          1   Lifestyle and Agricultural Factors by a
 2   reports that I read which cited error rates    2   Sample of Participants In the Agricultural
 3   that I was familiar with or that I came        3   Health Study from Iowa," again published in
 4   across in my readings and I imagine there      4   2002.
 5   are other reports as well have shown           5         Are you familiar with this
 6   misclassification in terms of glyphosate       6   publication?
 7   misrepresentation.                             7     A. I believe this one, I do know.
 8          I mean, does it say -- that they        8     Q. And in this study, the
 9   had 99 percent accuracy in the study is --     9   investigators compared information provided
10   I would need to really read this paper to     10   by over 4,000 members of the AHS cohort who
11   believe that anyone seriously believes that   11   provide exposure information in two
12   they had 99 percent validity of               12   separate questionnaires, one year apart,
13   measurement.                                  13   correct?
14      Q. Sitting here today, you're not in       14     A. Yes.
15   a position to discuss the various analyses    15     Q. And the NIH investigators
16   that were conducted by the NHS                16   measured the reliability of the
17   investigators in totality to determine the    17   questionnaire responses for pesticide
18   accuracy of the questionnaire responses on    18   exposures by comparing the agreement in the
19   exposure to glyphosate, correct?              19   answers from one questionnaire to the next.
20      A. No, but --                              20   Correct?
21          MS. WAGSTAFF: Object to form.          21     A. Yes.
22      A. I would be highly skeptical if          22     Q. For glyphosate specifically --
23   they're going to argue that the               23   and they list this on table 1 on the second
24   self-exposure measurements of glyphosate      24   page of their publication. They found for
25   use was 99 percent accurate.                  25   ever/never use, that there was a 82 percent

                                      Page 75                                            Page 77
 1      Q. It's, in fact, one of the reasons        1   correlation as far as accuracy or
 2   that the NIH investigators decided to use a    2   consistency in glyphosate exposure
 3   cohort of farmers and pesticide applicators    3   information, correct?
 4   for the purposes of their analysis was         4      A. Yes.
 5   because of the information they had that       5      Q. The investigators compared this
 6   suggested that those individuals would be      6   with the consistency of findings with
 7   more likely to have accurate recall of         7   respect to responses concerning smoking,
 8   pesticide exposures than individuals in the    8   correct?
 9   general population, correct?                   9      A. I don't know that. But --
10      A. Yes.                                    10      Q. Well, if you look at page 96 of
11           MS. WAGSTAFF: Objection, calls        11   the publication, so it's the next page --
12      for speculation.                           12          MS. WAGSTAFF: Dr. Neugut, if you
13      Q. Let me show you a different             13      need to read the entire publication
14   publication. And we will mark this as         14      please take the time to do so.
15   Exhibit 26-7.                                 15      Q. If you look at the second column
16           (Exhibit 26-7 document entitled,      16   on 96 the first paragraph, full paragraph,
17      "Reliability of Reporting on Lifestyle     17   "We also compared response to tobacco use"?
18      and Agricultural Factors by Sample of      18          MS. WAGSTAFF: Do you need to
19      Participants in the Agricultural Health    19      take time to read it?
20      Study from Iowa" marked for                20      A. Where are you looking.
21      identification, as of this date.)          21      Q. On the second column in the text
22      Q. And Dr. Neugut, for the record,         22   right next to table 2, there is the first
23   this is a publication, also in 2002 in the    23   indented paragraph starting, "We also
24   peer-reviewed literature, lead author,        24   compared responses..." Do you see that?
25   Dr. Blair, "Reliability of Reporting On       25      A. Yes.



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 1      Q. So the NIH investigators compared        1   paragraph, there was agreement of 35
 2   the consistency of response with respect to    2   percent for vegetable servings per day and
 3   glyphosate use with a consistency of           3   40 percent for fruit servings per day as
 4   response with respect to tobacco use.          4   compared to 82 percent --
 5   Correct?                                       5      A. I'm sorry, I'm not seeing where
 6      A. Yes.                                     6   you're reading.
 7      Q. And the investigators found that         7      Q. Page 96, the very last line of
 8   that there was the information on              8   text in that page, second column, they
 9   ever/never glyphosate use was more             9   provide the reliability data for vegetable
10   consistent than the information on numbers    10   servings per day and fruit servings per
11   of cigarettes smoked per day in these         11   day?
12   questionnaires, correct?                      12      A. Um-hm. Yes.
13      A. Yes.                                    13      Q. The reliability of questionnaire
14      Q. The investigators also found that       14   responses with respect to vegetable
15   the answers in the AHS questionnaires on      15   servings per day and fruit servings per
16   ever/never use of glyphosate was more         16   day, was less than half of the reliability
17   reliable than the data on alcoholic drinks    17   of the answers with respect the glyphosate
18   per day, correct?                             18   ever/never use, correct?
19          MS. WAGSTAFF: Objection,               19      A. Yup.
20      relevance. There is biases between         20      Q. I'm sorry?
21      reporting on cigarettes and alcohol.       21      A. Yes.
22          MR. LASKER: There is no                22      Q. The two published analyses that
23      objection to relevance in a deposition.    23   we have looked at of the accuracy of the
24          MS. WAGSTAFF: I just objected to       24   AHS cohort glyphosate exposure data was
25      relevance, so actually there is            25   looking at information that was obtained

                                      Page 79                                            Page 81
 1      apparently.                                 1   prior to the introduction of RoundUp Ready
 2          MR. LASKER: They aren't proper.         2   crops, correct?
 3      I should have stated that differently.      3          And if you can look back at the
 4      Q. Dr. Neugut, let me ask the               4   abstract, this information is based on the
 5   question again.                                5   first questionnaire and then one year apart
 6          The investigators found that the        6   from that. So again, the information on
 7   AHS questionnaire responses on ever/never      7   reliability here is based upon information
 8   use of glyphosate were more consistent than    8   provided prior to the introduction of
 9   the answers provided with regard to            9   RoundUp Ready crops, correct?
10   alcoholic drinks per day, correct?            10      A. Reliability and accuracy are not
11      A. Yes.                                    11   the same thing.
12      Q. The investigators have found that       12      Q. That -- my question is different.
13   the AHS questionnaire responses with          13          The data that we have been
14   respect to ever/never glyphosate use was      14   looking at with respect to reliability of
15   almost twice as reliable as the data or the   15   questionnaire responses was based upon
16   questionnaire responses for vegetable         16   information in the first questionnaire,
17   servings per day and fruit servings per       17   provided in the first questionnaire prior
18   day, correct?                                 18   to the introduction of RoundUp Ready crops,
19      A. I don't know if I would                 19   correct?
20   characterize it as twice, but it was more     20      A. Yes.
21   reliable.                                     21      Q. You would expect that the
22      Q. There was for -- if you go down         22   accuracy of glyphosate exposure data in the
23   to the bottom on page 96, with respect to     23   second AHS survey, after the introduction
24   vegetable servings per day and fruit          24   of RoundUp Ready crops, would be even more
25   servings per day, continue down that same     25   reliable, correct?



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 1          MS. WAGSTAFF: Object to form.           1          But exactly what impact that
 2      A. I'm sorry, I didn't follow the           2   would have had specifically on farmer
 3   question.                                      3   practices or what that means in terms of
 4      Q. Once a farmer begins using               4   agricultural practices specifically or how
 5   RoundUp Ready crops, their ability to          5   farmers react to that or what their
 6   recall whether they use RoundUp is pretty      6   psychological behavior is, I have no -- I
 7   straightforward, right? If they use            7   would have no basis for knowing that or
 8   RoundUp Ready crops, they know they use        8   understanding that or appreciating that.
 9   RoundUp?                                       9      Q. Starting at the bottom of page 7
10      A. I really have no basis on which         10   of your supplemental expert report and
11   to answer that question.                      11   continuing through page 11 of your report,
12      Q. Are you not aware of the fact           12   you're criticizing the 2018 NCI Study for
13   that RoundUp Ready crops, if you use          13   what you believe is an exposure
14   RoundUp Ready crops, you would need to use    14   misclassification issue that arose with
15   glyphosate on the crops?                      15   respect to the phase 2 questionnaire,
16      A. I understand the concept, but I         16   correct?
17   really have no knowledge of what a farmer     17      A. You're here -- you're where?
18   does or what a farmer doesn't do and          18      Q. In your supplemental expert
19   whether they -- what their knowledge or       19   report, starting page 7, we are moving
20   what their behavior would be with regard to   20   forward in your report now, on page 7 to
21   knowing about glyphosate use or not. I        21   page 11, you're discussing the issues of
22   would have no basis on which to answer that   22   exposure misclassification that you believe
23   question.                                     23   may have occurred in connection with the
24      Q. Do you have any knowledge with          24   second phase questionnaire. Correct?
25   respect to the weed management guidelines     25      A. Correct.

                                      Page 83                                            Page 85
 1   that farmers use if they're using --           1      Q. And you raise two issues that you
 2   growing RoundUp Ready crops?                   2   believe could lead to exposure
 3      A. No.                                      3   misclassification during this period; the
 4      Q. Do you know whether, in fact,            4   increase in glyphosate use after the
 5   farmers who farm using RoundUp Ready crops     5   introduction of RoundUp Ready crops and
 6   follow guidelines that specify certain         6   then the use of an imputation method to
 7   times in the year and numbers of times of      7   derive exposure information during this
 8   the year that they should apply RoundUp?       8   period for AHS participants who did not
 9      A. I grew up in Brooklyn.                   9   respond to the second survey, correct?
10      Q. You have no information on that         10      A. Yes.
11   one way or the other?                         11      Q. Are there any other issues that
12      A. No.                                     12   you believe led to exposure
13      Q. So you do not have any basis to         13   misclassification during this period?
14   know one way or the other whether             14      A. Well, this is on top of the
15   individuals who -- farmers who grow RoundUp   15   original sin?
16   Ready crops would have more reliable recall   16      Q. We already talked about your
17   with respect to whether they use RoundUp or   17   views of the questionnaire responses. But
18   how they use RoundUp than individuals who     18   with respect to the issues beyond what we
19   don't use RoundUp Ready crops?                19   just discussed, dealing with the
20      A. I don't have any basis on which         20   reliability of questionnaire data
21   to -- I would assume that they're -- I mean   21   generally, are there any other issues
22   my assumptions in my report have been         22   besides the increase in glyphosate use
23   simply that the glyphosate usage was          23   after the introduction of RoundUp Ready
24   altered subsequent to the introduction of     24   crops and the use of the imputation method
25   these glyphosate-resistant crops.             25   that you believe led to the exposure



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                                      Page 86                                            Page 88
 1   misclassification and --                       1      A. Yes.
 2      A. Off the top of my head, I'm not          2      Q. There was no association in the
 3   thinking of any.                               3   2018 NCI Study between exposure to
 4      Q. And you agree that for -- that           4   glyphosate-based herbicide and Non-Hodgkins
 5   there were 63 percent of the AHS cohort who    5   lymphoma in those 34,000 members of the
 6   provided information on glyphosate exposure    6   cohort, correct?
 7   both in the Phase 1 questionnaire and in       7      A. Correct.
 8   the follow-up questionnaire, second phase      8      Q. And, in fact, for the highest
 9   questionnaire, correct?                        9   exposure group, for -- that was 34,700
10      A. Yes.                                    10   individuals, for glyphosate-based
11      Q. And aside from the issues that          11   herbicides and Non-Hodgkins lymphoma, there
12   you've raised generally that we've            12   was a rate ratio as compared to no exposure
13   discussed with respect to questionnaires      13   below 1.0 at 0.9, correct?
14   generally, you do not raise any issue with    14      A. I don't know offhand, but
15   exposure misclassification for that 63        15   again --
16   percent of the cohort, correct?               16      Q. If we can look, I don't want you
17      A. Again, you will have measured           17   to be guessing here, page 4, we will put
18   now -- the misclarification error that you    18   that up, 4.
19   had in the baseline questionnaire, you will   19      A. Right now, in the Andreotti
20   now have duplicated in the second             20   study?
21   questionnaire.                                21      Q. Yes, the paper in the Journal of
22      Q. I understand and we have talked         22   the National Cancer Institute, 2018, and if
23   about the issue of questionnaires             23   we are looking at page 4, they provide data
24   generally, but specific to --                 24   for -- if we limit the analysis to 34,698
25      A. No.                                     25   participants who completed both

                                      Page 87                                            Page 89
 1     Q. -- your criticisms of the 2018            1   questionnaires reducing the total number of
 2   NCI Study --                                   2   cancer cases to 4,699.
 3     A. Right.                                    3      A. Which table are you in?
 4     Q. -- you agree that you don't have          4      Q. We are in the text on page 4.
 5   any concerns of exposure misclassification     5      A. Yeah.
 6   with respect to that 63 percent of the         6      Q. If you look up, you will see
 7   cohort, correct?                               7   where I am. Towards the bottom of the
 8     A. Correct.                                  8   column.
 9     Q. And the 2018 NCI Study separately         9      A. Oh, I'm sorry, OK. So --
10   analyzed the risk of Non-Hodgkins lymphoma    10      Q. Right next to "testicular" on the
11   and glyphosate exposure solely for the        11   chart. If you go over and look at the
12   34,700 cohort members who answered both the   12   text.
13   Phase 1 and Phase 2 survey, correct?          13          The sentence begins, "To evaluate
14     A. Yes.                                     14   the impact of using imputed exposure data
15     Q. And that separate analysis still         15   for participants who did not complete the
16   included 306 cases of Non-Hodgkins            16   follow-up questionnaire..." do you see
17   lymphoma, correct?                            17   that?
18     A. I don't know the number off the          18      A. Yes.
19   top of my head, but I believe you.            19      Q. "We limited the analysis to
20     Q. And with 306 NHL cases, that             20   34,698 participants who completed both
21   analysis would have more than four times      21   questionnaires reducing the total number of
22   the number of NHL cases that were in the      22   cancer cases to 4,699. Do you see that?
23   2005 DeRoos publication, correct?             23      A. I didn't see the last part.
24     A. You mean the original 2005 --            24      Q. "We limited the analysis to
25     Q. Yes.                                     25   34,698 participants who completed both



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                                      Page 90                                            Page 92
 1   questionnaires" --                             1   the 2018 NCI Study because it did not use
 2      A. Yes.                                     2   Phase 3 questionnaire responses, correct?
 3      Q. -- "reducing the total number of         3           MS. WAGSTAFF: Object to form.
 4   cancer cases to 4,699." Correct?               4      A. I would not say it's irrelevant.
 5      A. Reducing total to 4,699. Right,          5   I would say that while it doesn't directly
 6   go ahead.                                      6   relate to the 37 percent who didn't respond
 7      Q. Glyphosate use was not associated        7   to the second interview, but the
 8   with Non-Hodgkins lymphoma, with 306 total     8   characterization of those who are
 9   cases and a rate ratio of 0.9 for the          9   nonresponders as compared to responders is
10   highest quartile, quartile 4, correct?        10   still applicable.
11      A. Yes.                                    11      Q. The data that you cite in your
12      Q. In your supplemental report at          12   expert report with respect to differences
13   page 10, you discuss two publications that    13   in Phase 1, Phase 2 study responses from
14   you rely upon as addressing differences       14   Rinsky is inaccurate, correct?
15   between responders and nonresponders in the   15      A. Is what?
16   Phase 1 and Phase 2 survey, one by            16      Q. Is inaccurate?
17   Montgomery and one by Dr. Rinsky and this     17           MS. WAGSTAFF: Object to form.
18   is in your supplemental expert report at      18      Q. Your characterization of that
19   page 10.                                      19   data?
20      A. Yes.                                    20      A. Made a mistake, I made a mistake.
21      Q. And in fact, the Rinsky study           21   But the information is directly relevant to
22   does not address Phase 2 responders and       22   characterizing responders to questionnaires
23   nonresponders at all, does it?                23   within the AHS study as compared to
24      A. What does it address?                   24   nonresponders.
25      Q. You read the publications. Is it        25           While you're correct that I made

                                      Page 91                                            Page 93
 1   your understanding that the Rinsky paper       1   a mistake in -- it is really a third
 2   addressed Phase 2 survey responses?            2   interview, but -- or third -- but the
 3          MS. WAGSTAFF: Do you have a copy        3   characterization of who responds and who
 4      of the article you can let him refresh      4   doesn't respond is still going to be
 5      his memory with?                            5   germane and I'm not -- I'm not directly
 6          MR. LASKER: After he answers the        6   making any statements or trying to make any
 7      question, sure.                             7   points with regard to the specifics of who
 8      A. It was my impression that it did.        8   is a responder and whose not a responder.
 9   So --                                          9          I'm only giving information with
10      Q. Let's take a look at it. We will        10   regard to what are the characteristics of
11   mark this as Exhibit 26-8.                    11   those who respond versus those who don't
12          (Exhibit 26-8, document entitled,      12   respond and how that may influence the
13      "Assessing the Potential for Bias from     13   associations that are subsequently
14      Nonresponsive to a Study Follow-Up         14   observed.
15      Interview" marked for identification,      15      Q. In the Rinsky publication, when
16      as of this date.)                          16   they deal with the Phase 3 survey, at page
17      Q. Dr. Neugut, if you look at the          17   8 and I -- the NIH investigators who
18   abstract, right up front, of the Rinsky       18   published this paper stated again in the
19   publication, they very clearly state that     19   second column of page 8 that applying
20   they are looking at information or            20   pesticides at enrollment was not strongly
21   responses to questionnaires provided in the   21   associated with responses to the 2005, 2010
22   Phase 3 of the study between 2005 and 2010.   22   interview. That's your understanding of
23   Correct?                                      23   that paper result as well, correct?
24      A. OK. True.                               24      A. Yes.
25      Q. This publication is irrelevant to       25      Q. And with respect to disease



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                                      Page 94                                            Page 96
 1   outcomes, that would not be immediately        1   that are high, not risk ratios that are
 2   apparent at the time of questionnaire          2   small.
 3   responses, such as cancer, the NIH             3      Q. The Rinsky -- the NIH
 4   investigators also were of the view that       4   investigators in their statement, without
 5   those disease outcomes would not be            5   mention of the issues that you just
 6   associated with response or nonresponse to     6   discussed, because it is not mentioned in
 7   the questionnaire. Correct?                    7   their publication, state that selection
 8      A. I'm -- I'm not -- I didn't follow        8   bias should not strongly influence
 9   that last point.                               9   estimates of the association between
10      Q. OK. Page 8, the investigators,          10   farming exposures and many of the
11   page 8 of the study, Rinsky and the other     11   self-reported outcomes when analysis was
12   NIH investigators concluded that              12   limited to the 2005-2010 interview
13   outcomes -- and this is in the second         13   respondents, correct?
14   column of the text -- the findings reported   14      A. Yes.
15   here, the first paragraph, about two-thirds   15      Q. Now, let's look at the Montgomery
16   of the way down --                            16   paper.
17          MS. WAGSTAFF: What page are you        17          (Exhibit 26-9, document entitled
18      on?                                        18      "Effects of Self-reported Health
19          MR. LASKER: Page 8.                    19      Conditions and Pesticide Exposures on a
20      Q. The investigators concluded that        20      Probability of Follow-up in a
21   outcomes that did not have high rates of      21      Prospective Cohort Study" marked for
22   rapid mortality or disability soon after      22      identification, as of this date.)
23   diagnosis also should not be strongly         23      Q. This is the second --
24   associated with whether or not there was a    24          MS. WAGSTAFF: What's the time?
25   response or nonresponse to the                25      Q. Dr. Neugut, this is second

                                      Page 95                                            Page 97
 1   questionnaire. Correct?                        1   article that you cite in your supplemental
 2      A. Yes, but that's not germane to           2   expert report, correct?
 3   our situation.                                 3          This is the paper you cite in
 4      Q. So is it your testimony that             4   your expert report?
 5   Non-Hodgkins lymphoma has a high rate of       5          Is this the paper that you cite
 6   mortality and disability soon after            6   in your expert report, the Montgomery
 7   diagnosis?                                     7   paper?
 8      A. What?                                    8      A. Oh, yes.
 9      Q. Is it your opinion that                  9      Q. In the abstract in their paper,
10   Non-Hodgkins lymphoma has a high rate of      10   the Montgomery paper, the NIH investigators
11   rapid mortality or disability soon after      11   in this peer-reviewed publication, state
12   diagnosis?                                    12   the, "Differences between nonparticipants
13      A. No, but they're looking at lung         13   and participants in the follow-up
14   cancer and bladder cancer where the risk      14   interviews, the second phase interview were
15   ratios are like 2 and 3 and 4. We are         15   generally small."
16   talking about risk ratios of 1.3 and 1.4.     16          Did I read that correctly?
17   So --                                         17      A. Yes.
18      Q. I'm not even sure I'm following         18      Q. And the NIH investigators further
19   what you're saying. But that is not           19   state that, "We did not find significant
20   germane to my question.                       20   evidence of selection bias." Correct?
21      A. If they're saying that the degree       21      A. Yes.
22   of bias that's introduced by the              22      Q. And in your expert report --
23   nonresponses in this context are not going    23          MS. WAGSTAFF: Objection to
24   to have a major influence on the risk         24      completeness. There is another
25   ratios, but they're looking at risk ratios    25      sentence in the conclusion.



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                                      Page 98                                           Page 100
 1      Q. -- you disagree with the NIH             1   I still don't have an answer to that.
 2   investigators in their analysis of their       2      A. What is your question?
 3   findings in the Montgomery paper, correct?     3      Q. My question is the investigators,
 4      A. Do I?                                    4   the NIH investigators who conducted this
 5      Q. That's my question. Let me ask           5   analysis, they stated in their conclusions
 6   you this: Do you disagree with the             6   that differences between nonparticipants
 7   conclusions of the NIH investigators that      7   and participants in the follow-up
 8   differences between nonparticipants and        8   interview, "The second phase AHS interview
 9   participants in the follow-up second phase     9   were generally small and we did not general
10   interview were generally small and that       10   significant evidence of selection bias."
11   there was not -- they did not find            11           My question to you is whether you
12   significant evidence of selection bias?       12   agree or disagree with the NIH
13          MS. WAGSTAFF: Objection, there         13   investigators?
14      is another sentence in the conclusion      14      A. I think --
15      that should be read for completeness       15           MS. WAGSTAFF: Object to form.
16      into the record please.                    16      A. For the associations that they
17          MR. LASKER: If you want to read        17   looked at, that is correct. But they did
18      that in your redirect, that's fine.        18   not look at glyphosate and NHL.
19      I'm asking a question about this           19      Q. Then, Dr. Montgomery and his
20      sentence in the conclusion.                20   associates, if you look at page 492 of the
21      A. I would have to take a look at          21   paper, in the text in the first column, the
22   this for a moment to reorient myself to the   22   bottom of the page, states that the
23   paper. I haven't seen it in a while.          23   incident cancers cases -- that is, cancer
24          MS. WAGSTAFF: I would request          24   cases that developed subsequent to
25      that the full conclusion be read, if       25   questionnaire responses -- were not

                                      Page 99                                           Page 101
 1      you are going to ask questions about        1   significantly different from noncancer
 2      piecemeal to get sound bites.               2   cases in their probability of follow-up at
 3      Q. Dr. Neugut, the record will              3   interview, correct?
 4   reflect that you have been looking at the      4      A. Yes.
 5   Montgomery paper now that you cite in your     5      Q. And again, we discussed that
 6   expert report as evidence of what you state    6   before, but that again indicates that there
 7   are differences in Phase 1 and Phase 2         7   is no bias with respect to responding or
 8   responses, that you have been reading that     8   nonresponding to the questionnaire that
 9   paper now for three minutes or actually        9   would be associated with cancer outcomes,
10   more than that, four minutes of the           10   correct?
11   deposition time. I asked a simple             11      A. That is only for what they
12   question.                                     12   specifically looked at in this paper, not
13      A. I would say that --                     13   with regard to either glyphosate and NHL
14          MS. WAGSTAFF: Objection to             14   and not specifically in the context of
15      asking a simple question.                  15   small risk ratios.
16      A. -- explicitly mixing or applying        16      Q. Again, that's not really the
17   pesticides was significantly associated       17   question I was asking about. The issue
18   with participation at follow-up with an OR    18   that they raise is that there was no
19   of 0.52. And it says explicitly,              19   difference with respect to whether a cohort
20   "Characteristics associated with follow-up    20   member would respond or not respond to
21   among applicators." That's, it lists here     21   Phase 2 based upon whether or not that
22   those things that were associated with        22   individual developed cancer, correct?
23   response and nonresponse which is what I      23      A. Yes.
24   alluded to now --                             24      Q. So the question of any
25      Q. I will reask my question, because       25   differences between whether you respond or



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                                     Page 102                                           Page 104
 1   not respond was not associated with cancer     1   individual would be considered an unexposed
 2   outcomes, correct?                             2   Non-Hodgkins lymphoma case in the 2018 NCI
 3      A. Yes.                                     3   Study, correct?
 4      Q. In fact, if you talk about               4      A. Yes.
 5   glyphosate-based herbicide exposure and        5      Q. That's not correct, is it?
 6   Non-Hodgkins lymphoma, we know from the        6      A. Because --
 7   analysis we just looked at in the 2018 --      7      Q. The NIH investigators actually
 8      A. I am sorry, you have to talk             8   used an imputation methodology to determine
 9   louder.                                        9   exposure for -- in Phase 2 nonresponders,
10      Q. We know from the analysis we just       10   didn't they?
11   looked at in the 2018 NCI Study, only         11      A. How would they know that he used
12   looking at the individuals who responded to   12   it?
13   Phase 2 and Phase 1, if you recall, they      13      Q. Let's take a look at the Heltshe
14   had a 0.9 rate ratio for highest exposure     14   publication, and this is Exhibit 26-10.
15   for glyphosate-based herbicides and           15          (Exhibit 26-10, document
16   Non-Hodgkins lymphoma, correct?               16      entitled, "Using Multiple Imputation to
17      A. Yes.                                    17      Assign Pesticide Use for Nonresponders
18      Q. And so we know from that analysis       18      in the Follow-Up Questionnaire" marked
19   in the 2018 NCI Study, that there was no      19      for identification, as of this date.)
20   difference in the rate ratio for              20      Q. And you cited the Heltshe
21   Non-Hodgkins lymphoma if we look at           21   publication in your supplemental expert
22   individuals who responded to the Phase 2      22   report, correct?
23   questionnaire versus individuals who did      23      A. Yes.
24   not respond to the Phase 2 questionnaire,     24      Q. You're familiar with this paper?
25   correct?                                      25      A. Yes.

                                     Page 103                                           Page 105
 1          MS. WAGSTAFF: Objection,                1      Q. If you look at page 410, the
 2      misstates.                                  2   second page of the publication. The first
 3      A. I don't know that I would                3   full paragraph on the left, column
 4   characterize it that way.                      4   starting, "When using pesticide exposure in
 5      Q. There was no difference in the           5   an analysis, there are several ways to
 6   findings when they looked at individuals       6   handle missing Phase 2 information."
 7   who responded to both Phase 1 and Phase 2      7          Do you see that?
 8   as compared to when they looked at the         8      A. Yes.
 9   total cohort, correct?                         9      Q. And they talk about the
10          MS. WAGSTAFF: Same objection.          10   possibility of ignoring nonresponse in
11      A. You get the same risk ratio.            11   Phase 2 and implicitly assuming zero
12      Q. In your supplemental expert             12   pesticide exposure after Phase 1 which
13   report at page 10, if you raise the           13   would be erroneous for most participants
14   possibility of a cohort member who begins     14   who did not complete the Phase 2
15   using glyphosate after responding to the      15   questionnaire, correct?
16   first question -- this is the first full      16      A. Yes.
17   paragraph on page 10, you raise the           17      Q. And that's the scenario, the
18   possibility of a cohort member who begins     18   hypothetical that you were raising in your
19   using glyphosate after responding to the      19   expert report, correct?
20   first questionnaire and does not respond to   20      A. Yes.
21   the second questionnaire and then develops    21      Q. The whole reason that the NIH
22   Non-Hodgkins lymphoma, correct? You           22   investigators instead, using an imputation
23   discussed that hypothetical situation?        23   methodology, was to avoid that outcome,
24      A. Yes.                                    24   correct?
25      Q. And you state that this                 25      A. Yes.



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                                     Page 106                                           Page 108
 1      Q. And you agree that in using the          1   to Phase 1 and Phase 2, that 34,700 members
 2   imputation methodology, there was -- strike    2   of the cohort, there were individuals who
 3   that.                                          3   had not used glyphosate in Phase 1 who
 4          You agree, and I think you state        4   began using glyphosate in Phase 2, correct?
 5   this in your supplemental report -- you do,    5      A. Yes.
 6   at page 11 -- that imputation is frequently    6      Q. And through the imputation
 7   used in epidemiologic research for dealing     7   methodology, the NIH investigators were
 8   precisely with this same problem in similar    8   able to analyze all the various demographic
 9   circumstances, correct?                        9   factors that was related with that change
10      A. Yes.                                    10   in use pattern, correct?
11          MS. WAGSTAFF: Object to form.          11          MS. WAGSTAFF: Object to form.
12      Q. And when -- just to explain how         12      A. Yes.
13   this imputation works, the NIH                13      Q. And they used that imputation
14   investigators analyze a wide array of         14   method also with respect to the
15   demographic and lifestyle and occupational    15   nonresponders so that a nonresponder who
16   factors collected in the first                16   did not use glyphosate during the Phase 1
17   questionnaire and they determined which of    17   period but had the similar demographic and
18   those factors were associated with            18   lifestyle and occupational variables would
19   glyphosate use during the later time period   19   be imputed to have used glyphosate in Phase
20   among the 34,700 cohort members who           20   2, correct?
21   responded to the second questionnaire.        21      A. Yes.
22   Correct?                                      22      Q. And in the Heltshe study, the
23      A. Yes.                                    23   investigators in the very beginning at page
24      Q. And they then looked at those           24   409, in the left-hand column, state, and
25   same variables, demographic, lifestyle and    25   I'm quoting, starting about ten lines down

                                     Page 107                                           Page 109
 1   occupation in the first questionnaire          1   from the top, Introduction, "Multiple
 2   responses for those individuals who did not    2   imputation was been widely accepted and
 3   respond to Phase 2, correct?                   3   used to account for missing data in large
 4      A. I'm sorry, say the last question         4   national surveys and studies including
 5   again.                                         5   NHANES III, National Assessment of
 6      Q. The NIH investigators then looked        6   Educational Progress, Children's Mental
 7   at those same variables, demographic,          7   Health Initiative and the Framingham Heart
 8   lifestyle and occupational in the Phase 1      8   Study, correct?
 9   questionnaire responses for the individuals    9      A. Yes.
10   who did not respond to Phase 2, correct?      10      Q. And you agree with that, correct?
11      A. Yes.                                    11      A. Yes.
12      Q. And that is the method of               12      Q. The Heltshe validation study at
13   imputation is that they use all the           13   page 414, in the text in this 2012
14   information that they actually obtained in    14   publication, if you look at the second
15   the Phase 1 questionnaires and in the Phase   15   column in the text about halfway down that
16   2 questionnaires that responded to be able    16   column, you see there referencing the
17   to derive information as to whether or not    17   Montgomery paper, correct?
18   the nonresponders did or did not use          18      A. Yes.
19   glyphosate during that time period,           19      Q. And that's the Montgomery paper
20   correct?                                      20   we were just discussing, correct?
21      A. Yes.                                    21      A. Yes.
22      Q. There would, through that               22         MS. WAGSTAFF: Where are you --
23   imputation process for -- for example,        23      Q. Halfway down --
24   individuals -- I'm sorry, strike that.        24         MS. WAGSTAFF: Got it.
25          In the individuals who responded       25      Q. And the NIH investigators in the



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                                     Page 110                                           Page 112
 1   Heltshe paper state that Montgomery, et        1          Actually, let's look at the very
 2   al., show there is little evidence for         2   end of the paper, page 415, the conclusion.
 3   selection bias in Phase 2 of the AHS,          3   The last sentence of the publication,
 4   correct?                                       4   Heltshe publication, "The NIH investigators
 5      A. Yes.                                     5   conclude that this multiple imputation will
 6          MS. WAGSTAFF: Objection. Can            6   allow for bias reduction and improved
 7      you read the rest of the sentence           7   efficiency in future analyses of the AHS
 8      please.                                     8   cohort." Correct?
 9          MR. LASKER: You can read that in        9      A. Yes.
10      your --                                    10      Q. And you agree with that, correct?
11          MS. WAGSTAFF: "However, missing        11      A. Yes.
12      at random is an untestable assumption      12          MS. WAGSTAFF: Can you tell me
13      without additional data."                  13      where you were reading that?
14      Q. Well, let me ask you that               14          MR. LASKER: Sorry, the last
15   question. Are you aware of any                15      sentence of the paper.
16   information, any data that you can point      16      Q. The NIH investigators also found
17   to, that states that any miss -- any of the   17   from their analysis in the Heltshe paper --
18   information in the -- with respect to         18   and just to explain, the way that the
19   nonresponse in Phase 2 was missing not at     19   Heltshe paper worked is they took the
20   random?                                       20   individuals who responded to the first
21      A. Was what?                               21   phase questionnaire and then they pulled
22      Q. Missing not at random?                  22   out 20 percent of those individuals, sort
23      A. Missing --                              23   of pretended they hadn't responded, used
24      Q. Not at random?                          24   the imputation methodology to predict what
25          MS. WAGSTAFF: While he is              25   the answers should be, and then compared it

                                     Page 111                                           Page 113
 1      thinking about that, I would like to        1   to their actual responses, correct?
 2      read the rest of the sentence.              2       A. Yes.
 3           MR. LASKER: No, no, he can             3       Q. And the NIH investigators found
 4      answer the question and then you can do     4   when they did this analysis, that the
 5      whatever you want.                          5   observed and imputed prevalence of
 6      A. How could there possibly be such         6   pesticide use in the hold-out data set were
 7   evidence? I mean, since it's not               7   85.7 percent and 85.3 percent respectfully
 8   collected.                                     8   {sic}, correct?
 9      Q. Are you -- can you point to any          9       A. Do I have that written in my
10   information that says if there is any data    10   report?
11   that's -- with respect to the Phase 2         11       Q. I don't think you do, but it is
12   questionnaire nonresponse that's not          12   mentioned in the abstract of the Heltshe
13   missing at random?                            13   paper that you are relying upon. It's
14      A. No.                                     14   right in the abstract. If you look at the
15           MS. WAGSTAFF: I would like, for       15   front of the paper or you can try and find
16      the completeness of the record, it         16   it in the paper, but it's in the body of
17      says, "Thus, it is possible that           17   the abstract.
18      nonresponders differed from responders     18       A. They have all sorts of different
19      in variables we have not yet measured."    19   numbers in the paper itself. So --
20      Q. The NIH investigators state --          20       Q. Are you aware of, sitting here
21   and I believe this is, again, in the          21   today, whether or not, in fact, the Heltshe
22   abstract of the front of the paper, that      22   investigators found that their observed
23   the last line -- well, let me see here for    23   imputed prevalence of pesticide use in the
24   a second. I don't want to direct you to --    24   hold-out data set was 85.7 percent and 85.3
25   OK.                                           25   percent respectfully -- respectively?



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 1      A. I didn't -- no, I'm seeing it            1   imputation feature, did, indeed, preserve
 2   now.                                           2   essential features of the data."
 3      Q. OK. So I'm not sure I understand         3          I read that correctly?
 4   now. Am I correct that the NIH -- strike       4      A. Um-hm. Yes.
 5   that.                                          5      Q. And the N -- if you go back to
 6          The NIH investigators concluded         6   the abstract, in the front of the paper,
 7   that the observed and imputed prevalence of    7   right after the discussion of total
 8   pesticide use in the hold-out data set were    8   pesticide use of 85.7 and 85.3 percent
 9   85.7 percent and 85.3 percent respectfully,    9   respectfully -- respectively, the NIH
10   correct -- respectively?                      10   investigators further state that the
11      A. Yes.                                    11   distribution of prevalence and days per
12          MS. WAGSTAFF: Are you talking          12   year of use for specific pesticides were
13      about glyphosate or mixed load?            13   similar across observed and imputed in the
14          MR. LASKER: I'm talking about          14   hold-out sample, correct?
15      pesticide and it's right in the            15      A. Yes.
16      abstract. I'll ask the question again.     16      Q. And then the investigators in
17      A. That's for any pesticide use,           17   this paper calculated a relative error for
18   right.                                        18   the imputed ever/never use of 38 specific
19      Q. Just so we are clear, when the          19   pesticides, correct?
20   investigators use their imputation            20      A. Well, I don't know how many
21   methodology, they calculated 85.3 percent     21   pesticides there were, but many pesticides.
22   use of pesticides and then when they looked   22      Q. Going back to page 412, in the
23   back at the actual responses in the           23   right column, right above the very bottom
24   hold-out set, they found the actual number    24   of the right column, right above, "Days per
25   was 85.7 percent, correct?                    25   year use of specific pesticides." They

                                     Page 115                                           Page 117
 1      A. Yes, for pesticides, correct.            1   state that for only a few -- you see where
 2      Q. And based upon, if you can look          2   I am, about five lines up from the bottom?
 3   at page 412. On the left-hand column --        3       A. Yes.
 4      A. 412?                                     4       Q. "For only a few of the rare
 5      Q. 412. And this is how -- under            5   pesticides used in Phase 2, does the
 6   results, imputation assessment, and            6   imputed prevalence differ from the true
 7   roughly --                                     7   prevalence by more than 20 percent?"
 8      A. I'm sorry, we are in the first           8          And they identify some pesticides
 9   column.                                        9   that belong to that category, correct?
10      Q. First column. They discuss the          10       A. Yes.
11   fact that in their view, the total            11       Q. And glyphosate did not differ by
12   pesticide and the reference is total          12   more than 20 percent, correct?
13   pesticide imputation results indicates that   13       A. No.
14   the logistic regression model underpinning    14       Q. And then they present that data
15   the multiple imputation procedure did         15   in figure 2 of their paper which is on page
16   indeed preserve essential features of the     16   414, and this lists all of the different
17   data, correct?                                17   pesticides that we looked at, correct?
18      A. I'm not seeing where you're             18       A. Yes.
19   reading.                                      19       Q. And the relative error, whether
20      Q. If you look under imputation            20   it's more than 20 percent or less than 20
21   assessment, and about eight lines down they   21   percent for all the different pesticides,
22   state --                                      22   correct?
23      A. "This indicates..."                     23       A. Yes.
24      Q. "This indicates that the logistic       24       Q. And there are some five
25   regression model underpinning the multiple    25   pesticides that overstated exposure by


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 1   maybe four of them by over 20 percent,         1   2018 NCI study -- maybe a dozen or more
 2   correct?                                       2   studies in a peer-reviewed publication --
 3       A. Yes.                                    3   peer-reviewed literature coming out of the
 4       Q. And with respect to glyphosate,         4   Agricultural Health Study, correct?
 5   and the accuracy of the imputation             5      A. I don't know specifically, but I
 6   methodology, glyphosate fell basically in      6   wouldn't be surprised.
 7   the middle of the pack with respect to how     7      Q. And that same imputation
 8   well the imputation methodology worked for     8   methodology has been used in other
 9   individual pesticides, correct?                9   peer-reviewed publications looking at
10           MS. WAGSTAFF: Object to form,         10   potential associations with pesticides for
11       characterization of evidence.             11   which the imputation methodology resulted
12       A. I don't know. I don't know if          12   in greater relative error than glyphosate,
13   it's in the middle of the pack. It is         13   correct?
14   where it is.                                  14      A. I don't know.
15       Q. Well, there were roughly as many       15      Q. Well, for example, if you can
16   pesticides that had a larger relative error   16   look at lindane, on figure 2. In the
17   for the imputation methodology as there       17   Heltshe paper, lindane is the fourth
18   were pesticides that had a lower relative     18   pesticide from the bottom in that figure?
19   error, correct?                               19      A. Yes.
20           MS. WAGSTAFF: Same objection.         20      Q. So for lindane, there was a
21       A. I don't know.                          21   greater error rate in the imputation
22       Q. Well, you are looking at the           22   methodology than glyphosate, correct?
23   table here.                                   23      A. Yes.
24           All the pesticides below              24      Q. In your expert report, you cite
25   glyphosate have a greater relative risk,      25   to the AHS findings in the 2014 paper that

                                     Page 119                                           Page 121
 1   correct?                                       1   uses imputation methodology for lindane,
 2      A. Which is about I'd say about 10.         2   correct?
 3      Q. And the pesticides, again, in the        3      A. Yes.
 4   top had a higher relative risk or higher --    4      Q. So we know at least one situation
 5   I'm sorry, relative error than glyphosate,     5   where peer-reviewed literature has been
 6   correct?                                       6   published using imputation methodology with
 7      A. Had a better relative error.             7   pesticides where the imputation methodology
 8      Q. No, they were off by more because        8   did not work as well as it did for
 9   they are now going in the other direction      9   glyphosate, correct?
10   but the error is greater, correct?            10           MS. WAGSTAFF: Object to form.
11      A. I see. OK.                              11      A. Yes.
12      Q. So glyphosate fell about in the         12      Q. Outside of this -- well, first of
13   middle of the pack with respect to the        13   all, are you aware of a single published
14   accuracy of the imputation methodology for    14   paper anywhere in the literature arguing
15   individual pesticides, correct?               15   that the findings in all of these published
16      A. Yes.                                    16   studies of the AHS cohort that have used
17      Q. And the NIH investigators for the       17   this imputation methodology are not
18   Agricultural Health Study have used the       18   reliable because of their use of the
19   same imputation methodology for every paper   19   imputation methodology?
20   that they published that has included data    20           MS. WAGSTAFF: Objection. This
21   for the Phase 2 questionnaire, correct?       21      paper just came out five weeks ago, six
22      A. Yes.                                    22      weeks ago.
23          MS. WAGSTAFF: Object to form.          23      Q. Strike that.
24      Q. And there have been -- using the        24           So it is clear we just talked
25   same imputation methodology used in the       25   about a number of papers that used that



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 1   imputation methodology, not just the 2017      1   2018 NCI study, correct?
 2   NCI Study. We know the 2014 paper looking      2      A. Yes.
 3   at insecticides, fungicides used that same     3      Q. In other words, you believe that
 4   imputation methodology, correct?               4   there were biases in the 2018 NCI study
 5          MS. WAGSTAFF: Same objection.           5   that led to the reported rate ratio of
 6      A. I'm sorry, repeat the question.          6   about 0.85 for ever/never use and -- but
 7      Q. You know that the 2014                   7   without those biases, the 2018 NCI Study
 8   publication that looked at insecticides and    8   would have reported a statistically
 9   fungicides for the AHS cohort for different    9   significant increased rate ratio above 1.0,
10   pesticides used the same imputation           10   is that correct?
11   methodology, correct?                         11      A. I don't know what it would have
12      A. Yes.                                    12   reported. I mean, again, with the problems
13      Q. Lots of other publications, as we       13   that it has -- I don't know what the --
14   just discussed from the AHS, have been        14   what it should have or could have or might
15   using that same imputation methodology        15   have reported.
16   that's used in the 2018 NCI paper?            16      Q. Could you point to any data that
17      A. Yes.                                    17   would indicate that if those biases had not
18      Q. So the 2018 paper is not new in         18   occurred, that you state occurred or the
19   its use of the imputation methodology for     19   misclassifications had not occurred that
20   the AHS, correct?                             20   you state occurred, that the reported rate
21      A. Correct.                                21   ratio of 0.85 would have, in fact, been
22      Q. Outside -- strike that.                 22   increased to a statistically significant
23          Are you aware of a single              23   rate ratio above 1.0?
24   published paper anywhere in the literature    24           MS. WAGSTAFF: Objection, same as
25   arguing that the findings in any of these     25      I said before.

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 1   studies of the AHS cohort, using this          1      A. No, I just believe that the flaws
 2   imputation methodology, are not reliable       2   in the study make it impossible to
 3   because of their use of the imputation         3   interpret the reported finding.
 4   methodology?                                   4      Q. And based upon the actual
 5      A. No.                                      5   exposure data from the Phase 1
 6      Q. Outside of this litigation, are          6   questionnaire, you would agree that there
 7   you aware of any anyone who has argued in      7   is no suggestion that the 20,000 cohort
 8   any forum that the use of this imputation      8   members who did not respond to the second
 9   methodology makes the findings of these        9   questionnaire were at increased risk of NHL
10   Agricultural Health cohort studies            10   based upon their glyphosate exposures prior
11   unreliable?                                   11   to 1997, correct?
12      A. No.                                     12      A. I'm not able to answer that
13          MS. WAGSTAFF: Objection, again,        13   question as I sit here.
14      this paper came out five weeks ago, so     14      Q. Let's look at page -- this will
15      there may be some criticism in the         15   be the last line of questions -- page 4,
16      future of it.                              16   again, of the 2018 NCI Study.
17          MR. LASKER: The question and           17      A. Which study am I looking at?
18      answer will stand.                         18      Q. 2018 NCI Study by Andreotti. If
19          MS. WAGSTAFF: OK.                      19   you look at page 4, we are talking about
20      Q. In your expert report, you              20   the study by Andreotti, the main study here
21   suggest that differences in the responders    21   we are talking about.
22   and nonresponders in the Phase 2              22          Page 4 of that study, again, in
23   questionnaire could have concealed an         23   the column of text, halfway down, there is
24   actual increased risk of Non-Hodgkins         24   a paragraph that starts, "In primary
25   lymphoma with glyphosate exposure in the      25   analysis...," do you see that?



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 1      A. Yes.                                     1   baseline interview, and even a
 2      Q. And then about ten lines down,           2   misclassification error in that baseline
 3   they talk about an another analysis they       3   interview, which I'm sure there was, would
 4   did when using only exposure information       4   have been enough to introduce enough error
 5   reported at enrollment, correct?               5   so that it would have obviated the ability
 6      A. Yes.                                     6   to assess or might have eliminated a
 7      Q. So this is using the actual              7   positive association.
 8   questionnaire responses for the Phase 1        8          My whole point here has been when
 9   questionnaire, correct?                        9   you don't see a positive association, you
10      A. Yes.                                    10   have to be very conservative and very
11      Q. When using only exposure                11   skeptical about the interpretation of a
12   information reported at enrollment, the       12   null finding, particularly when you have
13   rate ratio and the highest exposure           13   such a high upper limit. You can't -- you
14   quartile was 0.82 for Non-Hodgkins            14   can't be willy-nilly about it.
15   lymphoma, correct?                            15      Q. Just so I understand, this is the
16      A. Yes.                                    16   same issue you discussed, again, about the
17      Q. And so based upon the actual            17   nondifferential, misclassification error
18   exposure data from the Phase 1                18   that you believe could have biased the rate
19   questionnaire, there is no suggestion that    19   ratio towards the null, is that correct?
20   the 20,000 cohort members who did not         20      A. Not just towards the null, but
21   respond to the second questionnaire were at   21   even in this instance apparently possibly
22   any increased risk of Non-Hodgkins lymphoma   22   below the null. I mean -- yes.
23   based upon glyphosate exposures prior to      23      Q. And it's your understanding that
24   1997, correct?                                24   the nondifferential misclassification can
25      A. The upper limit of the 95 percent       25   bias the rate ratio past the null in the

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 1   confidence interval is 1.80. So I would        1    other direction, is that correct?
 2   say that that easily encompasses the risk      2       A. Yes.
 3   ratios we have been talking about. So in       3           MR. LASKER: OK. No further
 4   fact, you could encompass a much higher        4       questions.
 5   relative risk.                                 5           MS. WAGSTAFF: We -- we can go
 6      Q. So am I understanding correctly          6       off the record.
 7   then, your analysis of the epidemiology in     7           THE VIDEOGRAPHER: The time is
 8   determining whether or not there would be      8       12:45. We are going off the record.
 9   an association between glyphosate-based        9           (Luncheon recess)
10   herbicide exposure pre 1997 and               10           THE VIDEOGRAPHER: The time is
11   Non-Hodgkins lymphoma, your methodology is    11       1:18. We are back on the record.
12   to look at the highest edge of the 95         12   EXAMINATION BY
13   percent confidence interval to determine      13   MS. WAGSTAFF:
14   whether or not there may be an association?   14       Q. Dr. Neugut, I have a couple of
15          MS. WAGSTAFF: Objection,               15    follow-up questions based on Mr. Lasker's
16      misstates testimony.                       16    questioning of you this morning.
17      A. I'm saying when you have a null         17           At the beginning of his questions
18   association. You can't interpret or you       18    to you, there were a lot of questions that
19   can't exclude what might be a positive        19    related to the "power" -- "statistical
20   association and that further, in the          20    power" of certain studies. Do you remember
21   context of what we talked about earlier in    21    that line of questioning?
22   terms of misclassification error, again, we   22       A. Yes.
23   talked earlier, our initial discussion was    23       Q. Is "power" a technical term used
24   about the misclassification error that was    24    in -- by epidemiologists?
25   even inherent in the original baseline,       25       A. Yes.



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 1      Q. Can you please describe for the          1     A.     Sure.
 2   judge and jury your meaning as an              2          MR. LASKER: Objection to form.
 3   epidemiologist of the term "power"?            3      Q. I believe I wrote down when
 4      A. Power is whether a study is large        4   Mr. Lasker asked you a question about the
 5   enough or has enough subjects to be able to    5   2018 AHS study, I believe that the words
 6   detect a given relative risk basically, so     6   that you used were that that 2018 AHS study
 7   it depends on what you think the relative      7   was not contributory to your expert opinion
 8   risk is going to be for a given association    8   in this matter. Is that the words that you
 9   between an exposure and an outcome.            9   used?
10          So if you have a very large            10      A. Yes.
11   relative risk, you can get by with a          11      Q. Can you tell the judge and jury
12   smaller study. If you have a -- if you are    12   what you mean by this study being
13   looking for a modest relative risk, you       13   noncontributory to your opinion?
14   need a larger sample, sample size. So         14      A. So it my point was it was neither
15   given that -- at least in our context with    15   positive nor negative or null. The study
16   glyphosate and NHL, we are talking about a    16   had so many flaws in my view that the
17   modest relative risk, so you would need a     17   results are just not reliable enough to
18   fairly large study to be confident or to be   18   contribute in a meaningful way to either
19   confident you would be able to, with a        19   deciding that AHS -- that glyphosate and
20   given study, to be able to find the           20   NHL are either associated or not
21   relative risk, if it was there. If it's       21   associated.
22   truly there.                                  22          Specifically, the discussion that
23      Q. So is it fair to say that "power"       23   we had about misclassification error in the
24   in the epidemiology world relates to the      24   first place about the way the
25   size of the study?                            25   self-reporting was collected in the first

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 1      A. Yes.                                     1   place and then the problem of the change,
 2      Q. Is it possible to have a study           2   the dramatic change in exposure to
 3   that is so powerful that it overcomes          3   glyphosate that took place after the
 4   particular flaws?                              4   initial cohort was collected, so that
 5          Stated another way, is power --         5   exacerbated the problem of exposure
 6   is the power of the study the most             6   assessment and then when the cohort had to
 7   important aspect of the study?                 7   be reassessed because of that, then the
 8      A. No. I mean, you can be                   8   extreme loss to follow-up in the
 9   under-powered. I mean, so if you -- again,     9   reassessment of the cohort, 37 percent loss
10   if you were looking for a modest risk and     10   of follow-up in a cohort study is a very
11   you had a small study, then you would be --   11   dramatic loss to follow-up you don't see
12   you would have a poor study because you       12   very often nowadays in a major cohort
13   wouldn't be able to find a small relative     13   study. And that's a truly dramatic flaw in
14   risk.                                         14   the study.
15          But the real issue in a study is       15           And then the fact that we are
16   its quality. If a study sucks, it doesn't     16   dealing with a modest association in the
17   matter how big the study is. It -- the        17   first place which makes all of this a
18   quality of the study is what's paramount.     18   problem. If we were dealing with a
19          Even if the study is small, the        19   relative risk of 10, we could tolerate all
20   quality is what's most important in the       20   of these flaws and problems and all of
21   study.                                        21   that.
22      Q. So you could have a study that          22           As I said in my discussion,
23   had a million participants, but if it's       23   epidemiology is very tolerant of error, but
24   done poorly or the quality is bad, it's not   24   if you combine all these errors and with a
25   that helpful, is that correct?                25   modest association, together, the



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 1   cumulative effect is really to make really     1   all the flaws that we just discussed.
 2   to make the study fatally flawed and really    2      Q. OK, and Mr. Lasker, throughout
 3   irreparable and that's why I think the         3   your deposition this morning, asked you
 4   combination of all of these problems           4   questions about the different tables in
 5   together really makes the study                5   Exhibit 25.1 which is the 2008 AHS study.
 6   uninterpretable, particularly because it's     6           MR. LASKER: I'm sorry, I made
 7   null.                                          7      a --
 8            When you get a positive               8           MS. WAGSTAFF: I'm not going to
 9   association, then you can be more --           9      ask him anything specific.
10   particularly a strong association, then you   10      Q. Do you remember Mr. Lasker asking
11   can be more confident about what you're       11   you about the tables and the supplemental
12   finding. But a null finding is really very    12   tables that were printed online?
13   much uninterpretable.                         13      A. Yes.
14            And that's why I think if you        14      Q. And the data in those tables, is
15   actually read the paper, the authors are      15   the data in those tables subject to the
16   totally focused on their one positive         16   same fatal flaws that you just described?
17   finding, much more so, almost -- much more    17      A. Of course.
18   so than on the null findings for all the      18      Q. Mr. Lasker asked you if you would
19   other cancers. They're almost exclusive --    19   turn to page 6 of your supplemental report.
20   to a large part the paper focuses on their    20   Tell me when you're there.
21   one positive finding which who even knows     21           MR. LASKER: I've got it.
22   if it is, but that's what they really talk    22      Q. The bottom, the last sentence,
23   about mostly.                                 23   Mr. Lasker asked you about your cite to the
24      Q. So I think I just heard you say         24   modest relative risk of 1.3 to 1.4 for
25   that you -- it's your opinion that the        25   ever/never use. Do you remember that line

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 1   flaws that you've identified, which I          1   of questioning by Mr. Lasker?
 2   believe what you just said were a modest       2      A. Yes. Yes.
 3   risk ratio, the loss to follow-up, coupled     3      Q. Is a relative risk ratio of 1.3
 4   with the imputation, the change in             4   to 1.4 an important risk?
 5   glyphosate use, and the misclassification      5          MR. LASKER: Objection to form.
 6   renders, combined, this paper to be fatally    6      A. It can be, yes.
 7   flawed, is that what you said?                 7      Q. And in your scientific opinion,
 8          MR. LASKER: Objection to form.          8   does a relative risk of 1.3 to 1.4 support
 9       Objection to counsel giving testimony.     9   a finding of causation?
10       A. Right, I mean, again, I don't          10          MR. LASKER: Objection to form.
11   have a problem with imputation. Imputation    11      A. Yes.
12   is a way to -- is a common method of          12          MS. WAGSTAFF: What was wrong
13   dealing with loss to follow-up or other       13      with that question?
14   problems of this sort. But again, it's a      14          MR. LASKER: There is no
15   means of repairing a problem which we use     15      discussion of statistical significance,
16   all the time.                                 16      confidence intervals, and it assumes
17          It's just in combination with all      17      the relative risk of 1.3 to 1.4 that
18   the other problems, it doesn't fully          18      doesn't exist.
19   correct -- it can't fully correct a flawed    19          MS. WAGSTAFF: So I'm fine with
20   study, and while I'm sure the authors are     20      that.
21   going to use it or do use it for multiple     21      Q. Next, it talks about in that
22   and will use it for multiple studies and      22   sentence the ever/never use, do you see
23   should, in the particular instance of         23   that? In page 6, the last words, page 6.
24   glyphosate and NHL, it's not going to be --   24   And just so the judge and the jury
25   it's not adequate to fully compensate for     25   understand a little bit about what that



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 1   means, when somebody does an ever/never        1   data in that article is subject to the same
 2   study, it the participants are grouped into    2   fatal flaws that you have previously
 3   two categories, exposed and unexposed, is      3   testified to and that are in your report,
 4   that correct?                                  4   right?
 5      A. Yes.                                     5           MR. LASKER: Objection to form.
 6      Q. And am I correct in -- that              6      A. Correct.
 7   somebody who has been exposed for one day      7      Q. Let's bring up the last report,
 8   to glyphosate is lumped in the same            8   last study that Mr. Lasker showed to you,
 9   category as someone who has been exposed       9   the Heltshe -- how do you pronounce that
10   every single day, is that correct?            10   name?
11      A. Yes.                                    11      A. Heltshe.
12      Q. So the denominator in an                12      Q. Heltshe, bring up the Heltshe
13   ever/never use for the exposed group          13   study.
14   includes people that have been exposed one    14           And Monsanto's attorney spent a
15   day to glyphosate, is that right?             15   lot of time on this journal, asking you
16           MR. LASKER: Objection to form.        16   questions. Do you remember those
17      A. I don't know if I used the word         17   questions?
18   "denominator," but the exposed group          18           MR. LASKER: Objection to form.
19   includes people who have been exposed for     19      A. Some of them.
20   one day or more.                              20      Q. So if you turn to page 410, table
21      Q. And in theory, in theory, that          21   1, Monsanto asked you to -- about the
22   might dilute the exposed group's risk         22   numbers of the "mixed any pesticides" at
23   ratio, is that right?                         23   the top of the table. Do you remember
24           MR. LASKER: Objection to form.        24   that?
25      A. It would, in theory, yes. It            25           MR. LASKER: Objection to form.

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 1   would do that, yes.                            1      A. Yes.
 2      Q. And in fact, in an ever/never            2          MR. LASKER: OK. I didn't ask
 3   analysis in the exposed group, due to this     3      about those numbers, but OK.
 4   dilution, one might miss an effect that is     4      Q. The 8.-- 85.2 and the 82.82, do
 5   truly there, is that correct?                  5   you remember him asking you those
 6          MR. LASKER: Last objection to           6   questions?
 7      form.                                       7      A. He actually asked about the
 8      A. Theoretically, that's possible.          8   numbers in the abstract.
 9      Q. Earlier today, Mr. Lasker asked a        9      Q. OK. But what he didn't ask about
10   series of questions where he said, "'There    10   was the specific glyphosate numbers,
11   was no evidence' of dose response," or "'No   11   correct?
12   evidence' of an association between           12      A. Correct.
13   glyphosate-based herbicides and NHL with      13          MR. LASKER: Objection to form.
14   respect to the 2018 AHS study."               14      Q. And what are the specific --
15          Do you remember that line of           15   actually, tell me the importance of looking
16   questioning?                                  16   specifically at the glyphosate numbers with
17      A. Yes.                                    17   respect to making a determination of
18      Q. And your response was based on          18   causation?
19   the 2018 article, correct?                    19          MR. LASKER: I will object to the
20          MR. LASKER: Objection to form.         20      entire line of questions with respect
21      A. Yes.                                    21      to table 1.
22      Q. And the data contained within           22      A. We are talking about glyphosate
23   that article, correct?                        23   and NHL. So obviously what we should be
24      A. Sure.                                   24   addressing is glyphosate, not all
25      Q. And we just described that the          25   pesticides.



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 1          MS. WAGSTAFF: Why are you               1   uninterpretable study for the purposes of
 2      objecting?                                  2   this litigation.
 3          MR. LASKER: You are looking at          3      Q. So I understand and the judge and
 4      the wrong table.                            4   jury understands correctly as well, if you
 5          MS. WAGSTAFF: I know, but you           5   look at page 410, Mr. Lasker mentioned that
 6      brought this article in and asked him       6   63 percent of the participants responded to
 7      questions, so why are you objecting?        7   the first and second questionnaires. Do
 8          MR. LASKER: I know. The                 8   you remember that line of questioning?
 9      questions were premised on my               9      A. I guess, yes.
10      questioning regarding table 1. I           10      Q. So said another way, 37 percent
11      didn't ask any questions about table 1.    11   did not respond. Is that --
12      Q. So again, what is the importance        12      A. Yes.
13   of when there is data available for           13      Q. And it looks like in the first
14   glyphosate specifically, what is the          14   full paragraph on page 410 on the text on
15   importance of considering that glyphosate-    15   the left, I've got it highlighted right
16   specific data versus data relating to all     16   here if you want to just see where it is.
17   pesticides?                                   17   It states that 37 percent in this
18      A. Because we are talking about            18   particular study equates to 20,968 people.
19   glyphosate. So obviously what's --            19   Is that correct?
20   glyphosate is what's relevant, not all        20      A. Yes.
21   pesticides.                                   21      Q. So the authors were making
22      Q. So when you were asked questions        22   educated guesses on almost 21,000 people,
23   about the -- this article, you were not       23   is that correct?
24   asked about the glyphosate specific           24           MR. LASKER: Objection to form.
25   numbers, is that correct?                     25      A. Yes.

                                     Page 143                                           Page 145
 1     A.    Right.                                 1      Q. And they were making those
 2          MR. LASKER: Object to form.             2   guesses during a time in which the
 3      Misstates the testimony.                    3   glyphosate use changed dramatically, is
 4      Q. And just to be clear, you're not         4   that correct?
 5   attacking the use of self-reporting or         5          MR. LASKER: Objection to form.
 6   imputation in general; rather, it's            6      A. Yes.
 7   specific to the facts of this case. Do I       7      Q. And has anything that you heard
 8   understand you correctly?                      8   today from Mr. Lasker changed your opinion
 9          MR. LASKER: Objection to form.          9   that you provided in your expert -- your
10      A. Yes. As Mr. Lasker said, both           10   supplemental expert report?
11   self-reported questionnaires and imputation   11      A. No. I mean, the only thing I
12   are standard methodologies that are used by   12   would say is I did make an error in the
13   all epidemiologists including myself in       13   month -- my interpretation of the
14   most studies, many studies in epidemiology.   14   Montgomery paper. I didn't realize it was
15          It's just that they have their         15   the Phase 3 interview rather than the Phase
16   limitations, and in the proper context, one   16   2, but it doesn't change the substance of
17   has to be careful with their use. And in      17   my -- what I was trying to elicit from that
18   the particular context of this study, with    18   paper which was that -- what were the
19   the, as I described earlier, with the         19   factors that predicted response or
20   several flaws or problems here, the           20   nonresponse.
21   problems become a cumulatively and            21          They are basically -- what I was
22   overwhelming issue and create what I          22   trying to get at in the Montgomery paper
23   consider to be fatal flaws in our             23   was just to describe some factors which
24   interpretation of the outcomes of the         24   predict response or nonresponse and the
25   study. So as to make it a basically an        25   fact that they were described for a



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 1                                                1           * * *ERRATA SHEET* * *
     subsequent interview or survey is not, to    2
 2                                                    NAME OF CASE: In Re: RoundUp
     me, germane or critical.                     3   DATE OF DEPOSITION: 1/3/18
 3         MS. WAGSTAFF: Thank you, Doctor.       4   NAME OF WITNESS: ALFRED I. NEUGUT
 4                                                5   Reason codes:
       No more questions.                         6
 5                                                      1. To clarify the record.
           THE WITNESS: Thank you.                      2. To conform to the facts.
 6         THE VIDEOGRAPHER: The time is          7     3. To correct transcription errors.
 7                                                8   Page ____ Line ____ Reason____
       1:38. This is the conclusion of
 8                                                    From ___________________ to_________________
       today's deposition, January 3, 2018.       9
 9                                               10   Page ____ Line ____ Reason____
10              ____________________                  From ___________________ to_________________
                                                 11
11              ALFRED I. NEUGUT                 12   Page ____ Line ____ Reason____
12                                                    From ___________________ to_________________
13                                               13
      Subscribed and sworn to                    14
14                                                    Page ____ Line ____ Reason____
      before me this day                              From ___________________ to_________________
15    of       , 2018.                           15
16                                               16   Page ____ Line ____ Reason____
17
                                                      From ___________________ to_________________
      _______________________                    17
18                                               18   Page ____ Line ____ Reason____
19                                                    From ___________________ to_________________
                                                 19
20                                               20   Page ____ Line ____ Reason____
21                                                    From ___________________ to_________________
                                                 21
22
                                                 22
23                                               23              ______________________
24                                                                ALFRED I. NEUGUT
                                                 24
25
                                                 25



                                     Page 147
 1             CERTIFICATE
 2   STATE OF NEW JERSEY )
                   )ss:
 3   COUNTY OF UNION )
 4       I, MARY F. BOWMAN, a Registered
 5   Professional Reporter, Certified
 6   Realtime Reporter, and Notary Public
 7   within and for the State of New Jersey,
 8   do hereby certify:
 9       That ALFRED I. NEUGUT, the
10   witness whose deposition is
11   hereinbefore set forth, was duly sworn
12   by me and that such deposition is a
13   true record of the testimony given by
14   such witness.
15       I further certify that I am not
16   related to any of the parties to this
17   action by blood or marriage and that I
18   am in no way interested in the outcome
19   of this matter.
20       In witness whereof, I have
21   hereunto set my hand this 3rd day of
22   January, 2018.
23
24          __________________________
              MARY F. BOWMAN, RPR, CRR
25




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